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                                                    CONSTRUCTION CONTRACT


          OWNER:
          (OASG HAZLET, LLC]

          PROJECT ADDRESS:
          13010 NJ RT35 HAZLET NJ 077301

          CONTRACTOR:
          ISCUNGIO BORST & ASSOCIATES CONSTRUCTION MANAGEMENT]

          PROJECT DESCRIPTION:
          IBUBBAKOOS BURRITOS]

          EFFECTIVE DATE:
          18/16/21]

         ARCHITECT:
         ITHE MONTORO ARCHITECTURAL GROUP]
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                                                          CONTRACT

                   THIS CONSTRUCTION CONTRACT (“Contract”), made and entered into by and between the
            Owner and Contractor named on the cover page of this Contract, who agree as follows:


                                                              ARTICLE 1

                              SCOPE OF WORK AND CONTRACTOR RESPONSIBILITIES


                   1.1              The Work

           Contractor shall furnish all labor, supervision, materials, scaffolding, ladders, tools, equipment, supplies,
           insurance, permits and approvals necessary for the prosecution and completion of the work on the Project
           in accordance with the Contract Documents (as defined below) (the “Work”).

                   1.2              Adherence to Contract Documents; Substitutions

                         (a)      Contractor shall perform the Work in strict accordance with the Contract
           Documents and as reasonably inferable therefrom, according to their true intent and meaning, and any
           addenda and modifications thereto.

                           (b)      The products, materials and equipment of manufacturers referred to in the
          Construction Documents are intended to establish the standard of quality and design required by Architect.
          Materials of manufacturers other than those specified may be used only if accepted by Owner. Owner, in
          consultation with Architect, shall judge the equivalency of proposed substitute materials. Owner, in its sole
          discretion, may reject a proposed substitution regardless of equivalence. In no event shall the Contract
          Time be extended, nor shall the Contract Sum be increased, by any circumstance resulting from a proposed
          substitution, without the issuance of a Change Order approved by Owner.

                   1.3              Responsibility for Construction Means anti Methods; Site Safety

          Contractor, its Subcontractors of all tiers and its suppliers shall be solely responsible for (a) construction
          means, methods and techniques; and (b) establishment of a site safety program that adheres to the Project
          Safety Program and is subject to the review and approval of Owner; and all procedures and precautions
          necessary to comply with the Project Safety Program, OSHA standards, and all applicable federal, state
          and local safety and health-related codes, rules and regulation.

                   1.4              Supervision of Site; Selection of Personnel; Site Access

                          (a)      Contractor shall use its best skill and attention for the proper administration,
          coordination, supervision and superintendence of the Work.

                         (b)      Contractor shall report the progress of the Work at the Site or elsewhere on no less
          than a weekly basis, and promptly update Owner with any events impacting schedule or operations at the
          Site.

                          (c)      Contractor shall employ an appropriate number of full-time foremen,
          superintendents and assistants, as necessary to monitor the progress of the Work and ensure adherence to
          the Project Schedule. The foremen, superintendents and assistants shall be subject to the Owner’s
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           reasonable approval and shall not be changed, except with the consent of the Owner or in the event such
           individual ceases to be employed by the Contractor. Owner shall have the right, in its sole discretion, to
           request that any of Contractor’s personnel be removed from the Project. If Owner requests that any of
           Contractor’s personnel be removed from the Project, Contractor shall make the requested change with
           reasonable promptness.

                           (d)       Contractor shall provide Owner, Lender, and Architect safe and proper access to
           the Work. Contractor shall comply with Owner’s instructions regarding access to the Project Site and
           storage of materials at the Project Site.

                            (e)      Contractor shall ensure that all workforce on the Project are skilled, competent,
           experienced, reliable and honest workers authorized to work lawfully in the United States in compliance
           with all verification requirements in an efficient and timely manner until completion of the Work.
           Contractor shall enforce discipline and order among Contractors’ employees and Subcontractors.
           Contractor shall not employ or continue to employ on the Project any unfit person, anyone without
           appropriate safety training as applicable to the Work, nor anyone not properly skilled or trained in the task
           assigned, or anyone who in any manner interferes with or hinders labor harmony, job continuity or the
           proper performance of the Work. Contractor shall cause all Subcontractors to comply with these
           requirements and they shall include in all Sub-Subcontract agreements the same requirements outlined
           herein. If any employee of Contractor fails a drug test, the cost of such testing at a rate of One Hundred
           Dollars ($100) per employee shall be reimbursed by Contractor to Owner, as applicable.

                             (f)    To ensure that the Work shall not be interrupted by labor disputes. Contractor shall
          employ on the Work only such labor as, to the satisfaction of Owner, will perform their services in harmony
          with all other contractors on the Project. Should Contractor, in the opinion of Owner, fail to carry out this
          provision, Owner shall be at liberty, after three (3) business days written notice to Contractor, to terminate
          the employment of Contractor for cause. Materials manufactured and installed and deliveries made shall
          be by workers whose trade affiliations are not reasonably anticipated to cause strikes or work stoppages on
          the Project. Contractor is also responsible for taking whatever measures may be reasonably necessary to
          settle any labor disputes and ensure job continuity and labor harmony. Any demands, costs, problems or
          disputes concerning unions, union-management benefit trust funds and/or union coalitions, including
          without limitation grievances, arbitrations and/or litigations of any type, will be dealt with by Contractor at
          its own expense so as not to cause any delay in the Project Schedule. Should Contractor fail to take
          expeditious and appropriate action, Contractor shall be responsible for any delays arising therefrom and
          any costs incurred by Owner as a result thereof. Labor disturbances for which Contractor is responsible
          shall not result in any increase in the Contract Sum.

                             (g)     If, as the result of any determination, act, decision, judgement, ruling, provisional
          order, award, or other legal requirement, imposed after the date of this Contract, the Work hereunder is
          deemed to constitute work covered by any collective bargaining agreement, labor agreement, trade
          association agreement, organizing effort, or similar requirement of any kind including a prevailing wage
          requirement then the Parties shall negotiate in good faith to adjust the Contract Sum to account for any
          costs, liabilities, penalties, losses and expenses in connection therewith, including, without limitation.
          Contractor shall indemnify and hold harmless Owner from any failure by Contractor to pay its employees
          in accordance with law.

                          (h)      Contractor may be required to use security access cards for Site access which shall
          be provided by Owner or its designee and shall be returned to Owner upon completion of the Work or upon
          request. Contractor shall be responsible for the cost of replacement cards in the event any cards are lost or
          damaged during the course of the Project.
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                    1.5                Promotion of Equal Employment Opportunities; Non-Discrimination

                            (a)      It is the policy of Owner to actively and affirmatively promote and assist: (1) equal
           employment opportunities for women and members of minority groups; and (2) the fair participation of
           minority and women-owned business enterprises (“M/WBEs”) in all aspects of the development and
           construction of the Project. Contractor hereby agrees to undertake to achieve meaningful participation of
           M/WBEs in the performance of the Work and the providing of goods and services in connection with the
           Project to the maximum extent practicable, and to comply with all applicable policies and regulations, now
           or hereafter.enacted, regarding M/WBEs.

                             (b)      Contractor shall not discriminate against any employee or applicant for
           employment because of race, color, creed, sex, age, handicap/disability, medical condition, religion, marital
           status, sexual orientation, affectional preference, national origin or ancestry. Contractor shall use its best
           efforts to ensure that applicants are employed, and that employees are treated during employment, without
           regard to their race, color, creed, sex, age, handicap/disability, marital status, sexual orientation, affectional
           preference, national origin or ancestry. Such action shall include Contractor’s best efforts with i-espect to
           the following: employment, job classification, upgrading, promotion, demotion or transfer, recruitment or
           recruitment advertising, layoff or termination, rates of pay or other forms of compensation, and selection
           for and quality of training, including apprenticeship.

                            (c)                       Contractor shall comply with all applicable labor laws.

                   1.6               Permits and Legal Requirements

                   Owner, or Contractor if specified in the Contract Documents, shall secure the building permit.
          Contractor shall secure, maintain, renew and pay for all other permits and governmental fees, licenses and
          inspections necessary for the proper execution and completion of the Work called for under this Contract.
          Contractor further agrees that all Work shall be performed in accordance with, and all materials furnished
          by it under this Contract shall comply strictly with, all applicable laws, rules, regulations, ordinances, codes,
          orders, judgments and decrees of all federal, state and local entities and all other governmental authorities,
          agencies, departments, bureaus or courts having jurisdiction over the Work hereunder (the “Legal
          Requirements”) without extra charge or expense. Contractor shall be liable for any costs, damages, losses
          and expenses arising out of the violation of any such Legal Requirements by Contractor, any Subcontractor
          or anyone for whom Contractor is responsible. Contractor shall indemnify, defend and save harmless
          Owner, Lender, Architect, and all other persons and entities identified as Indemnitees or Additional
          Insureds as identified in the Contract Documents, from and against any such costs, damages, losses and
          expenses, including reasonable attorneys’ fees and disbursements, attributable to any such violation or
          noncompliance by Contractor or any Subcontractor, as well as any delay in the completion of the Work as
          a result thereof. Contractor shall cooperate with Owner by, among other things, appearing at any court,
          administrative or legal proceedings or hearings held in connection with any alleged violations of such Legal
          Requirements.

                   1.7              Taxes

                         (a)      Contractor agrees to pay and hereby assumes full and exclusive liability for the
          payment of any and all contributions or taxes imposed by the laws of the United States of America or by
          the laws of any state, city or municipality and which are measured by the wages, salaries, or other
          remuneration paid to persons employed by Contractor or its Subcontractors on the Work or for materials
          and equipment furnished. If requested. Contractor shall furnish such payroll information or employment
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           records as may be necessary to enable Owner to comply with any law imposing such contributions or taxes,
           and Contractor agrees to reimburse Owner for the entire amount of contributions, taxes or penalties that
           may be required to pay because of the failure of Contractor to furnish such information or records, or
           because of the failure of Contractor to pay such contributions or payroll taxes. The Contract Sum includes,
           and Contractor shall be liable for the payment of, all sales, use or other taxes of whatever nature levied or
           assessed against Contractor arising out of the Work and the furnishing or installing by Contractor hereunder
           of any kind of materials, supplies or equipment, unless otherwise specified in the Contract Documents.
           Without limiting Contractor’s liability for payment, Contractor agrees to requisition sales tax as a separate
           line item in its Application for Payment. Owner may provide tax exemption documents/forms in connection
           with the Project, and Contractor agrees to comply with all requirements concerning the same. To the extent
           any tax exemption results in a savings to Contractor, Contractor agrees to pass along such savings to Owner.

                            (b)      Contractor shall provide to Owner the information and documentation relating to
           the Work required to obtain and retain for the Project the following, where applicable to the Project: (i) low
           income housing tax credits; and (ii) benefits under any agreements for the abatement of taxes. Contractor
           shall fully cooperate with Owner and any consultants hired in respect of (i) or (ii) above and shall provide
           any assistance requested by any of them in connection therewith, including in the case of an audit. This
           provision shall survive final payment.

                   1.8               Handling of Tools, Equipment and Materials

                           (a)     Contractor is responsible for the handling and distribution of its own tools,
           equipment and materials. Contractor shall confine its tools, equipment and materials and its operations to
           areas permitted by Legal Requirements or as directed by Owner.

                           (b)      Contractor shall organize and coordinate, well in advance of the time required on
          the Project, the procurement and delivery of all necessary materials, supplies and equipment so that they
          will be available at the Project as needed for timely completion of the Work.

                            (c)    Owner may make available equipment used by multiple trades at the Project for
          the use of all contractors on the Project on a reservation basis. Contractor shall make all arrangements for
          the use of any such equipment sufficiently in advance so that such use can be scheduled during normal
          working hours. Owner is not obligated to provide any such equipment and does not guarantee same will
          be available for use whenever or wherever Contractor desires. If Contractor shall use any equipment
          furnished by Owner or other contractors. Contractor shall satisfy itself as to the safety of such tools and
          equipment before using the same and shall be fully responsible for the safety thereof to the same extent as
          if such tools and equipment were owned by and in the sole control of Contractor. There shall be no increase
          in the Contract Sum or Contract Time for walkup time, delay, lost-time or delivery or trucking charges that
          may be incurred as a result of use of any equipment provided by Owner. If Contractor reserves use of any
          equipment or tools, but does not use it, Contractor will be charge for the reserved time. Contractor shall
          provide sufficient manpower so as to make maximum and expeditious use of any Owner supplied
          equipment.

                   1.9             Temporary Facilities

                    Contractor shall place and relocate its field offices and shanties when and where directed by Owner
          and Contractor shall provide all necessary facilities for its workers. It is understood that Contractor is
          responsible at its sole cost and expense for the acquisition, maintenance and subsequent removal of all
          utility, sprinkler and telephone services required for its field offices and shanties. Each structure (whether
          storage shanty or otherwise) Contractor maintains must be of fire-resistant construction if placed inside the
          Project and must contain all fire safety equipment required by law. When it becomes necessary, due to the
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           progress of the Project, for Contractor to relocate its field operations, Contractor will do so in an expeditious
           manner and at no additional cost to Owner. Removal of all of Contractor’s shanties shall be within seven
           (7) calendar days of written notification by Owner. If Contractor fails to remove all shanties with such time
           frame, the removal will be done by Owner with all costs back-charged to Contractor’s account.

                   1.10               Cleaning and Rubbish Removal

                     Contractor shall, at a minimum, clear and collect all rubbish created by its operations on a daily
           basis or as directed by Owner, If Owner uncovers or learns of Contractor’s failure to clear and collect
           rubbish created by its operations. Owner may do so upon notice to Contractor and all cost and expense of
           performing such Work shall be charged to Contractor’s account. In the event of a dispute between
           Contractor and other contractors on the Site as to responsibility for cleaning up as required under this
           Section, Owner, may clean-up and charge the cost thereof to the contractors responsible therefor which
           shall in no way be construed as relieving Contractor of its obligations under this Contract.

                   1.11               Site Conditions

                           (a)     Without limiting any other provision of this Contract, by executing this Contract,
          Contractor represents that it (i) has inspected the Site, (ii) has satisfied itself as to the condition of the Site
          including, but not limited to, all structural, surface and subsurfaco^Rditrns, (iii) has familiarized itself
          with the Site and the local conditions under which the Work is to be performed, (iv) has correlated its
          observations with the requirements of the Contract Documents,(v) understands that the Work may be done
          in a congested area, and (vi) has calculated its price and time schedule accordingly.

                           (b)     Material deliveries shall comply with all Legal Requirements or Project Site
          requirements and are to be promptly coordinated with Owner so as not to interfere with neighboring
          operations at the Project. Contractor shall obtain Owner’s approval of any proposed location of materials
          to be stored on Site prior to delivery of such materials on Site, as well as proposed methods of protecting
          and safeguarding such materials until installation. Contractor shall confine operations at the Project to areas
          permitted by applicable Legal Requirements, ordinances, permits and the Contract Documents and shall
          not unreasonably encumber the Site with any materials or equipment. Contractor shall coordinate all of
          Contractor’s operations with and secure approval from Owner before using any portion of the Site.

                           (c)     Where provided. Owner does not assume any responsibility whatsoever with
          respect to the sufficiency or accuracy of any investigations made by Owner, and there is no warranty or
          guaranty, express or implied, that the conditions indicated by such investigations, borings (if applicable),
          logs or information are representative of those existing throughout the Project Site, or any part thereof, or
          that unforeseen developments may not occur. Contractor shall undertake, or require the appropriate
          Subcontractor to undertake, such investigations and studies as may be necessary or useful to determine
          surface and subsurface conditions.

                           (d)      Contractor agrees and acknowledges for itself and any Subcontractor (i) that the
          Contract Sum is just and reasonable compensation for all the Work, including all foreseen and reasonably
          foreseeable risks, hazards and difficulties in connection therewith, (ii) that the time within which to perform
          the Work is adequate for the performance of the Work, and (iii) that the performance of the Work shall not
          result in any lateral or vertical movement of any structure. Contractor and Subcontractors shall have no
          claims for such surface or-subsurfaee conditions encountered. Contractor and Subcontractors shall exercise
          special care in executing Work in proximity of known subsurface or concealed utilities, improvements and
          easements.
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                    1.12              Coordination ofTrades

                            (a)     Contractor shall coordinate the work of all subcontractors for the Project.
           Contractor shall manage the installation, execution and storage of their respective Work and materials.
           Contractor shall review the shop drawings of subcontractors or other contractors as necessary for proper
           interfacing of such contractors’ work. If Contractor fails to review such shop drawings, Contractor waives
           any claim in connection with, and is liable for any damages resulting from, the same. Wherever any
           provision of any section of the specifications creates a conflict between subcontractors or trades performing
           work at the Project Site, Contractor shall make all necessary arrangements to reconcile any such conflict
           without delay, recourse or damage.

                    1.13              Damaged Materials and Work

                    Material which has become damaged in any way during storage and delivery shall not be used and
           shall be replaced by this Contractor at no additional cost. Contractor must protect all of its materials stored
           on the Project Site prior to installation and take proper precautions to avoid accidental damage by other
           trades or the elements. Completed work of this Contractor shall be free of dents, tool marks, warpage,
           buckling, open joints, and other defects.

                    1.14              Quality of Workmanship and Materials

                    Contractor shall perform the Work strictly in accordance with customary construction practices and
           shall use only the highest standard of workmanship and new materials and equipment of best quality, and
           Contractor’s performance of Work and usage of materials and equipment shall be in accordance with the
           standard of care, training and skill generally accepted in the industry for Contractor’s performing a
           substantially similar scope of work for a construction project of a similar size, in the same location, and
           during the same relevant period of time, subject to the specific requirements of the Contract Documents
           and Legal Requirements. Contractor shall be responsible for cutting, fitting, or patching required to
           complete the Work or to make its parts fit together properly. All areas requiring cutting, fitting, or patching
           shall be restored to the condition existing prior to the cutting, fitting, or patching, unless otherwise required
           by the Contract Documents. Contractor recognizes that it is being hired because of its promise to produce
           this level of quality and Contractor shall incorporate into its Work a rigorous quality control inspection
           program to thoroughly check the quality of workmanship on the Project, including the oversight and
           responsibility for testing, monitoring and inspection of all Work.

                   1.15              LEED Certification Requirements

                  Contractor acknowledges-that Owner may seek Leadership in Energy and Environmental Design
          (.^iLEBB’-’) certificatieH-feF-the Project. Contractor-agrees-to comply-with-all-LEED submittal requirements.

                   1.16              Accessibility Requirements

                           Contractor shall comply with all federal state, and local accessibility requirements that
          apply to the Project. Contractor acknowledges that Owner may retain an FHA compliance consultant (the
          “Accessibility Consultant”) to help ensure that the as-constructed features at the Project comply with
          relevant Legal Requirements. Contractor shall fully coordinate and cooperate with the Accessibility
          Consultant and keep the Accessibility Consultant apprised concerning the Work being performed by
          Contractor hereunder.
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                                                              ARTICLE 2

                                                         CONTRACT SUM


                   2.1              Contract Sum

                    (a)     Owner agrees to pay to Contractor for the performance of the Work the contract sum set
            forth in the Project Appendix (the “Contract Sum”), subject to the terms and conditions hereof, and
            Contractor agrees to accept for the performance of the Work for the Contract Sum, subject
            to the terms and conditions hereof.

                   (b)      Owner its option, may purchase certain alternates, if any, listed in the Contract
           Documents the pricing for which includes all labor, material, equipment, profit, overhead, transport,
           demurrage, taxes, etc. needed to complete the Work, and any additional work at the unit prices, if any,
           identified in the Contract Documents.

                   (c)                       Contractor represents and warrants to Owner that:

                             (i)      In its capacity as a Contractor and not as a licensed design professional, it has
           carefully examined and understands the Contract Documents, has Investigated the nature of the Work and the
           conditions and difficulties under which it is to be performed, and that it enters into this Contract on the basis
           of its own examination, investigation and evaluation of all such matters and in reliance on the documents
           referenced in the Contract Documents but not in reliance upon any opinions or representations of Owner or
           of any of their respective members, officers, agents or employees except as expressly provided in the Contract
           Documents;

                           (ii)     the Contract Documents are sufficient to have enabled Contractor to determine
           the cost of the Work and that the Contract Documents are sufficient to enable it to construct the Work
           outlined therein, and otherwise to fulfill all of its obligations hereunder;

                           (iii)    that it has visited and examined the site and surrounding areas as necessary in
           order to be familiar with all existing conditions, including the location of adjacent structures and utilities
           and access to the Project Site;

                           (iv)    that it has satisfied itself as to the quality and quantity of all materials, supplies,
           tools, equipment, labor and professional services necessary to complete the Work in the manner and
           within the cost and time frame required by the Contract Documents;

                            (v)     that it has identified to Owner prior to execution of this Contract any areas of the
           Project Site as to which it was unable to make a full inspection and the reasons therefor;

                           (vi)     that it is obligated to immediately uncover all areas of its Work upon execution
          of this Contract which areas may impact upon the schedule for the Project and failure to take such action
          shall preclude Contractor from making any claim for extended General Conditions or the Contract Time
          as a result of any conditions which would have been discovered had Contractor adhered to the obligations
          of this subsection; and
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                            (vii)   that, to the extent applicable to the Work, it acknowledges the degree of care
            required with respect to protection of existing utilities, adjacent properties and streets.

                   (d)       Based upon the foregoing representations, Contractor agrees and acknowledges (i) that
            the Contract Sum is just and reasonable compensation for all the Work, including all unforeseen,
            foreseen and foreseeable conditions, risks, hazards and difficulties in connection therewith, and (ii) that
            the time set forth in the Project Schedule is adequate for the performance of the Work.


                                                              ARTICLE 3

                               CONTRACT DOCUMENTS, CORRELATION AND INTENT


                   3.1               The Contract Documents

                   (a)     The “Contract Documents” consist of this Contract including the Project Appendix and
          all the Exhibits hereto, all of which comprise a single contract enforceable against and by each of the
          Parties. To the extent that any of the Exhibits, including any portion thereof which constitutes information
          submitted by Contractor with or as the Contractor’s proposal, conflict with the terms of this Contract or
          the Project Appendix, the Contract and Project Appendix shall control.

                    (b)     All the Contract Documents shall be read together as complementary and the rights and
           obligations thereunder shall be deemed cumulative. When Work is indicated on the drawings but is not
           called for in the other Contract Documents, or is called for in the other Contract Documents but is not
           indicated on the drawings, and the nature of the Work is such that it should be performed by workers
          employed by this Contractor, or if standard building practices in the locale of the Project would require
          such Work to be performed by this Contractor, then such Work shall be deemed a part of the Work covered
          by this Contract and shall be performed by this Contractor without additional compensation. It is
          specifically agreed that all work usually or customarily performed by the trade(s) covered by this Contract
          shall be performed by Contractor in the event the work is indicated on any Project drawings or called for
          in any portion of the Contract Documents or is otherwise called for in accordance with this paragraph.
          Should it appear that the Work hereby intended to be done or the material to be furnished, or any of the
          matters relating to said Work or materials, are not sufficiently detailed or explained on the drawings or in
          the specifications, Contractor shall apply to Owner for such other and further drawings or explanations as
          may be necessary, and shall conform to the same without extra compensation as part of this Contract.

                  (c)      Notwithstanding anything in the Construction Documents to the contrary, it is understood
          and agreed that the Contract Sum is predicated on the complete installation of all Work of the subject trade
          unless specifically excluded elsewhere herein. All Work is to be done in a first-class workmanlike manner
          using new materials and equipment to the complete satisfaction of Owner and Architect. The Work
          includes any and all items normally required to provide a complete, first-class job in every detail for
          maximum quality, serviceability and appearance.

                   (d)     Contractor represents that it is familiar with the Project and has expertise in the scope of
          this trade and the Work.

                  (e)    Contractor shall review all Contract Documents for consistency, implementation and
          completion of the Work and coordination with other trades, and promptly report to Owner any error.
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           omission, inconsistency or similar defect that may be apparent from Contractor’s review of the Contract
           Documents. Contractor shall cooperate with Owner, Architect and other contractors in good faith to resolve
           such error, omission, inconsistency or defect in a manner so as to avoid any increase in the Contract Sum or the
           Contract Time. If any conflicts or ambiguities exist in, between or among the Contract Documents, and/or
           existing conditions at the Project Site, Contractor shall immediately upon discoveiy bring such conflict or
           ambiguity to the attention of Owner for resolution. It is expressly understood and agreed that Owner, in
           consultation with Architect, shall be the sole interpreter of the Contract Documents and shall resolve any such
           conflicts and ambiguities. In the event there are any such conflicts or ambiguities, then the inteipretation
           imposing the greater obligation or stricter limitation on Contractor shall control, as reasonably determined by
           Owner. In addition, in the event there are any such conflicts or ambiguities which result in a choice between
           different means and methods to perform the work after the resolution of the conflict or ambiguity, Contractor
           shall be responsible to perform the work without additional compensation for using the means and methods
           directed by Owner. If Contractor performs any such work before Owner have had a reasonable time to respond.
           Contractor shall solely bear the risk of performing such work contrary to the resolution thereof by Owner.

                                                             ARTICLE 4

                                           ADMINISTRATION AND ARCHITECT


                   4.1               Administration

                  Owner may employ one or more consultant(s) to review the Contract Documents, perform inspections
          of the Work and the Project during construction and participate in the administration of this Contract,
          including the review and approval of Contractor’s Applications for Payment. Contractor shall cooperate
          with such consultants as requested by Owner.

                   4.2              Architect

                   Architect will not have control over or charge of, and will not be responsible for, construction means,
          methods, techniques, sequences or procedures, or for safety precautions and programs in connection with the
          Work, since these are solely Contractor’s responsibility. Architect’s decision on matters relating to aesthetic
          effect will be final if consistent with the intent expressed in the Contract Documents.

                                                           ARTICLES

                              PROJECT SCHEDULE AND COMPLETION OF THE WORK


                  5.1               Time for Completion of the Work

                          (a)     It is understood and agreed that time is of the essence in the commencement,
          prosecution and completion by Contractor of the Work. Contractor shall perform the Work in a prompt and
          diligent manner and shall perform the several parts thereof at such times and in such order as set forth in
          the project schedule included in the Exhibits hereto or as later agreed to by Owner and Contractor (the
          “Project Schedule”). The “Contract Time” is the period of time for completion of the Work set forth in the
          Project Schedule, which is subject to the approval of Owner and which may not be modified without
          Owner’s prior written consent.
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                        (b)      Contractor shall mobilize its labor, materials, supplies and equipment in order to
           commence work at the Site at the time set forth in the Project Appendix.

                            (c)     The Work shall be deemed to be substantially completed (“Substantial
           Completion”) when only punch list work, as determined by Owner and Architect, remains to be completed.
           Contractor shall achieve Substantial Completion of the Work by the time set forth in the Project Appendix.

                           (d)    The Work shall be deemed to be finally completed (“Final Completion”) upon
           confirmation by Owner and Architect that:

                                     (i)      all Work, including al! punch list work and all Work that is the
           responsibility of Contractor which is required for Owner to obtain a permanent certificate of occupancy for
           the Project, has been fully and satisfactorily completed in a good and workmanlike manner, in conformance
           with the Contract Documents and in full compliance with all applicable laws, rules, requirements and
           regulations of all governmental authorities having jurisdiction over the Work;

                                     (ii)    all final certificates of approval relating to the Work for which Contractor
           is responsible to secure shall have been issued and delivered to Owner;

                                 (iii)   all required receipts, releases of liens, affidavits, waivers, guarantees,
          warranties, bonds, as-built drawings (which are required unless otherwise stated), operation and
          maintenance manuals, stock and any other documents required under the Contract shall have been delivered
          to Owner; and

                                 (iv)     Contractor has provided Owner and/or its designee(s) training on the
          operation and maintenance of all building systems for which Contractor is responsible.

                         (e)      If Contractor fails to perform the Work in a prompt and diligent manner in
          accordance with the Project Schedule, Owner may decline to make payment to Contractor.

                   5.2     Meetings and Reports

                           (a)    Contractor shall schedule, provide Owner and Architect with notice of, and ensure
          participation by subcontractors in weekly progress meetings and special job meetings as needed to ensure
          the progress of the Work in accordance with the Project Schedule. All such meetings shall be held at the
          Site. Contractor shall separately schedule meetings with the Owner and any other persons requested by
          Owner.

                        (b)     For all meetings. Contractor shall prepare meeting minutes to be circulated for
          review and comment by meeting participants.

                           (c)     Contractor shall periodically update the status of the progress of such shop
          drawings and material deliveries, as well as within two (2) calendar days of any request therefor by Owner.
          If Contractor fails to submit a proposed schedule for the submission of shop drawings and/or fails to
          maintain or adhere to such schedule during the course of the Project, Contractor waives any claim based
          on, or in connection with, shop drawings.

                          (d)     Contractor shall cooperate with and assist Owner in (i) preparing and updating, for
          review by Owner and Architect, a submittal/material status log, based upon the submittal schedule,
          indicating the status of past, current and future submittals; and (ii) maintaining a log of requests for
          information (“RFls”) and responses.
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                            (e)    Contractor shall, upon the commencement of the Work each day, provide a written
           report (in a form approved by Owner) to Owner stating the number of workers at the Site, the description
           of Work to be performed that day, the area(s) of the Site at which Work is to be performed that day and the
           equipment on the Site (“Daily Reports”),

                   5.3      Delays, Damages and Extensions of Time

                            (a)      Contractor shall maintain the progress of the Work in conformance with the Project
           Schedule. It is understood that Contractor shall perform the Work during normal working hours, except as
           otherwise set forth in the Contract Documents. However, Contractor shall work overtime at its own expense
           to maintain the progress of the Work in accordance with the Project Schedule.

                           (b)      Contractor shall not cause any unnecessary hindrance or delay, and shall reimburse
           Owner for all costs incurred by Owner as a result of such hindrance or delays.

                            (c)     Anything contained in this Contract to the contrary notwithstanding, if and to the
           extent that there are hindrances to, or delays in, the performance of the Work for any reason outside the
          control of Contractor including Contemplated Delay, and if Contractor demonstrates that the Work is
          actually hindered or delayed thereby. Contractor’s presumptive sole remedy shall be an extension of time
          to perforin the Work. Notwithstanding the foregoing. Contractor shall not be entitled to an extension of the
          time to perform the Work unless Contractor is without fault, has diligently sought to minimize the period
          of delay or hindrance by means which include, without limitation, seeking alternate sources of labor or
          materials or acceleration of the Work, and shall have given written notice to Owner of such claim within
          five (5) calendar days after the occurrence of any delay, which notice shall set forth in detail (i) the nature
          of each delay, (ii) the date or dates upon which each cause of delay began and ended, (iii) the number of
          days of delay attributable to each such cause, (i v) the action taken, or to be taken, by Contractor to minimize
          the period of delay and (v) the manner in which such delay effects the Project Schedule then in effect.
          Contractor shall furnish such additional supporting documentation as Owner may request, including, where
          appropriate, a revised schedule for the Work indicating all of the activities affected by the circumstances
          which form the basis for the claim. The aforesaid five (5) day notice is a condition precedent to an
          extension of time to perform the Work and failure to provide same shall constitute a waiver by
          Contractor of an extension of time to perform the Work based on the delay. Contractor shall require
          in all Subcontracts that the Subcontractor provide the aforesaid five (5) day notice. Failure to do so shall
          constitute a waiver by the Subcontractor of an extension of such time based on the delay. Any extension of
          time shall be deemed accepted by Owner only if reflected in a validly issued Change Order.

                           (d)     For purposes of this Contract, “Contemplated Delay” shall be deemed to include,
         but are not limited to, delays or hindrances to the extent not caused by or contributed by Contractor and are
         caused by; (1) the acts or omissions of Architect or Owner (or other parties or entities for whom they are
         responsible), including changes to the Work not caused by negligent acts or omissions of Contractor; (2)
         the acts or omissions of Lender; (3) strikes, (4) fire; (5) acts of a public enemy; (6) unavailability of, or
         inability to obtain materials by reason of shortages which affect the supply or availability of materials; (7)
         floods; (8) rebellions, riots, insurrections, sabotage or terrorism; (9) adverse and unusual weather
         conditions; (10) delays or interferences by Owner’s other contractors and/or their subcontractors or
         suppliers; (11) unforeseen subsurface conditions, including previously unidentified hazardous materials; or
         (12) suspension of the Work ordered by law.

                           (e)     If any delay on the part of Contractor or any Subcontractor, or anyone for whose
         acts Contractor or any Subcontractor may be liable, results in any claim by third parties against Owner
         arising out of such delay. Contractor shall pay, satisfy, and discharge all costs, losses, damages and expenses
         arising out of such claims, including attorneys’ fees incurred by Owner. Additionally, Contractor shall
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           indemnify and hold harmless Owner, Lender as well as any Indemnitees, from and against all costs, fees,
           losses, damages, and expenses arising out of such claims.

                             (f)     It is the responsibility of Contractor to maintain the progress of the Work in
           accordance with the Project Schedule. Except as otherwise provided herein with respect to Contractor’s
           inability to-timely perform the Work by reason of Contemplated Delays, if Contractor or any of its
           Subcontractors delays the progress of the Work, Contractor shall increase, and shall cause the
           Subcontractors to increase, in connection with their respective portions of the Work, the number of workers,
           the number of shifts, the days of work and, to the extent permitted by law, institute overtime operations, all
           at the sole cost and expense of Contractor and without additional cost to Owner, in order to progress the
           Work in accordance with the Project Schedule. Owner may, in its sole discretion, supplement Contractors’
           forces with workers it employs or with other contractors. The cost of such supplemental forces shall be
           deducted from the Contract Sum in an amount equal to the actual cost to Owner plus a fifteen percent (15%)
           administrative fee.

                            (g)     Contractor acknowledges that if (i) it fails to complete the Work within the time
          provided in the Project Schedule together with extensions permitted pursuant to this Contract due in whole
          or in part to its own fault or the fault of parties for whom Contractor is responsible, (ii) it abandons the
          Project or the Work, or (iii) this Contract is terminated as a result of Contractor breach. Contractor shall be
          liable for any and all damages for which liability is asserted against Owner, or otherwise directly or
          indirectly incurred by Owner, including, but not limited to, reasonable attorneys’ fees, costs and expenses
          arising out of interest and expenses on loans, deferred rental income or termination of leases by incoming
          tenants, unless otherwise provided. Contractor shall likewise require its Subcontractors to be responsible
          for such costs which are attributable to such Subcontractors.

                           (h)     Punch-list work shall be performed by Contractor only at times as will not
          unreasonably interfere with the use or occupancy of the Project by an occupant at no additional cost to
          Owner or such occupant. Owner may require the use and operation of any operational heating, ventilating
          or air conditioning equipment at the time that Owner or Owner’s designees occupy or use any portion of
          the Project, and Contractor shall maintain such equipment for the duration of its use. Any such use or
          occupancy by Owner shall not affect the warranties and guarantees required hereunder.

                            (i)     If adverse weather conditions are the basis for a claim for additional time, such
          claim shall be documented by data substantiating that weather conditions were abnormal for the period of
          time, could not have been reasonably anticipated, and had an adverse effect on the scheduled construction.
          Time extensions shall not be granted for rain, wind, snow or other natural phenomena of normal intensity
          for the locality where the Project is located.

                  5.4      Expediting

                           (a)     Contractor shall work on procuring and furnishing all materials and equipment
          required to be furnished by Contractor so that Contractor may commence deliveries and start the Work at
          the Project in accordance with the Project Schedule. Deliveries of all such materials and equipment to the
          Project shall be made at such times (including overtime days or hours if necessary) so as to avoid delays to
          the Project.

                           (b)     Owner shall have the right to expedite the Work even out of sequence and,
          provided Contractor is (i) in the good faith judgment of Owner not behind schedule in performance of the
          Work and (ii) not otherwise in default in any of the provisions of the Contract, Owner shall reimburse
          Contractor for the actual additional wages over and above straight time rates determined at premium rates
          actually paid by Contractor and approved by Owner for such overtime for personnel which have been
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           approved by Owner, plus taxes imposed by law on and fringe benefits and insurance applicable to such
           additional wages. Contractor shall not be entitled to any payment on account of overhead or profit with
           respect to such additional wages, fringe benefits and insurance. Contractor will not be entitled to additional
          compensation for Work performed outside of normal working hours unless expressly stated in writing by
          Owner in advance. Time slips covering said additional wages must be checked and approved by Owner, or
           if directed by Owner, by Contractor, on a daily basis. If, however. Contractor is, in Owner’s good faith
          judgment, behind in the progress of the Work or, in Owner’s good faith judgment, delaying the progress of
          the Work necessary to complete the Project in accordance with the Project Schedule, then, if requested by
          Owner, Contractor shall work such overtime hours or days with such additional personnel and increase
          crew size as may be necessary in Owner’s opinion to maintain the progress of the Work, and the costs
          incurred on account of such overtime (including the cost of stand-by trades) shall be borne solely by
          Contractor. Any refusal by Contractor to commence and perform such overtime work shall constitute a
          default hereunder. If requested by Owner, Contractor shall also furnish a recovery schedule within three (3)
          days of request or such longer period as may be mutually agreed upon indicating Contractor’s proposed
          efforts to overcome the delays in its performance of the Work. Under no circumstances shall Owner be
          liable or responsible to Contractor for damages resulting from expediting/accelerating the performance of
          Work pursuant to this Section, including but not limited to lost productivity costs, and Contractor waives
          its right to make a claim for any such damages.

                   5.5     Use and Occupancy of Project Prior to Completion

                           (a)    Occupancy of and use by Owner or any tenant, or any ultimate lessee or purchaser
          of the Project’s components shall not be construed as acceptance of the Work and shall not relieve
          Contractor from any obligation of performing all of the Work required by the Contract but not completed
          at the time of occupancy.

                                                             ARTICLE 6

                             INSPECTION, TESTING AND CORRECTION OF THE WORK


                  6.1      Inspection and Correction of the Work

                    Contractor shall provide, both in off-site manufacturing/fabrication shops and/or plants, and at the
          Site, sufficient safe and proper facilities at all times for the inspection of the Work by Owner, Lender, and
          Architect, and their authorized agents and representatives. Contractor shall, within two (2) business days
          after receiving written notice from Architect or Owner, at its own cost and expense, proceed to remove
          from the Site all materials rejected by Owner or Architect, as not complying with the Contract Documents
          whether worked or unworked, and to take down or uncover all portions of the Work which Owner or
          Architect shall, by like written notice, reject as unsound or improper or as in any way failing to conform to
          the Contract Documents. Work done or materials furnished by Contractor and not approved by Owner or
          Architect will not be accepted. Contractor shall promptly (no later than ten (10) calendar days after
          receiving notice) correct all Work rejected as defective or as failing to conform to the Contract Documents
          whether observed before or after completion of the Project and whether or not fabricated, installed or
          completed. Contractor shall bear all costs of correcting such rejected work, including compensation for
          Architect’s, Owner’s or any other consultants’ additional services made necessary thereby. Contractor shall
          not be relieved of its obligations to perform the Work in accordance with the Contract Documents either
          by the administration of the Project by Owner or Architect or by any inspections, tests or approvals required
          of, or to be performed by, others.
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                    6.2              Uncovering of the Work

                           (a)    Contractor shall document all Work prior to covering. If any portion of the Work
           should be covered contrary to the request of Architect, Owner or contrary to the requirements specifically
           expressed in the Contract Documents, Contractor shall, if required in writing by Architect or Owner,
           uncover such Work for observation and same shall be replaced at Contractor’s sole cost and expense.

                   6.3               Defective Work

                            (a)      At Owner’s option, Owner may accept defective or nonconforming Work or
           materials, instead of requiring its removal, correction or replacement, as the case may be, and may reduce
           the Contract Sum by such amount as Owner reasonably determines appropriate.

                             (b)     Should any person or persons at any time assert a claim or institute any action, suit
           or proceeding against Owner, Lender or Architect involving the manner or sufficiency of the performance
           of the Work contemplated under this Contract, Contractor will upon request of Owner promptly take over
           the defense of any such claim, action, suit or proceeding at the sole cost and expense of Contractor and will
           also indemnify Owner, Lender, Architect, and all other persons and entities identified as Indemnitees or
           Additional Insureds, and anyone else to be designated by Owner, and save them harmless from and against
           any and all liability, damages, judgments, costs or expense, including attorneys’ fees and disbursements,
           arising out of or in connection with any such claim, action, suit or proceeding.

                                                             ARTICLE 7

                                                  CHANGES IN THE WORK


                   7.1              Changes in the Work

                            (a)      Owner, without invalidating or abandoning this Contract, may at any time require
          in writing, changes in the Work consisting of additions, deletions or other revisions. Such additions,
          deletions, or other revisions shall be undertaken subject to Owner’s execution of a Change Order form. A
          “Change Order” form is a written instrument signed by Owner and Contractor stating agreement upon all
          of the following: (i) the change in the Work; (ii) the amount of the adjustment, if any, in the Contract Sum;
          and (iii) the extent of the adjustment, if any, to the Project Schedule.

                            (b)     If Owner and Contractor are unable to agree to the terms of a Change Order for
          work relating to a change. Owner may engage another contractor to perform such work without invalidating
          or giving rise to any claim by Contractor.

                   7.2              Field Directives

                   Architect shall resolve conflicts in the Construction Documents or order minor changes to avoid
          conflicts between different trades through written field orders or field directives (“Field Directives”) which
          shall require written approval by Owner prior to Contractor proceeding with the Work; provided, however,
          that in no event shall any Field Directive be construed to authorize any clarification or change which may
          necessitate or warrant a Change Order, an Emergency Change Order, or which may result in (w) a change
          in the character or scope of the Project or any part thereof, (x) a change in the Contract Sum, (y) a change
          in the Project Schedule unless authorized in writing by Owner.
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                   7.3               Emergency Change Orders

                    Anything contained herein to the contrary notwithstanding, Contractor shall have the authority to
           order “emergency changes” in the Work, without the prior written approval of Owner, by the issuance of a
           written order (an “Emergency Change Order”). For purposes of this Contract, “emergency changes” in the
           Work shall mean only changes which are required in the case of an emergency to insure the safety of
           persons or the Work and which, in the interest of expediency. Contractor determines should be made
           without obtaining the prior written approval of Owner. Contractor shall notify Owner that it has issued an
           Emergency Change Order within twenty-four (24) hours after the same has been issued, which notification
           shall set forth the reason giving rise to the issuance of the same, and promptly furnish Owner with copies
           of all such Emergency Change Orders. Valid Emergency Change Orders shall be confirmed by Owner by
           a duly issued Change Order.

                   7,4              Contractor’s Notice of Claim

                            (a)     Contractor may make a claim for changes in the Work, additional work or extra
           work, and/or time extensions to complete the Work only if Contractor provides notice of such claim in
           writing to Owner within five (5) calendar days after the event giving rise to such claim. Upon receipt of
           same. Owner may request additional information, authorize a Change Order, or dispute such written notice.
           Owner shall have no obligation to approve or grant such claim, and may direct Contractor to proceed with
           disputed work in accordance with the requirements of this Contract. In the event the aforesaid written notice
           is not given such claim shall be considered as abandoned and waived by Contractor. The aforesaid written
          notice of any claim by Contractor for an increase in the Contract Sum or for an extension of time to
          complete the Work is a condition precedent to such increase in the Contract Sum or for an extension
          of time to complete the Work. Contractor shall have no right to requisition for disputed work until a final
          Change Order covering such work is issued, signed and approved.

                   7.5              Fast Track

                          Contractor acknowledges that this Project may be constructed on a “fast-track” basis.
          Contractor shall furnish first class, professional and efficient Work and shall complete its Work in
          accordance with the Standard of Care and consistent with, to the extent required, “fast-track” construction,
          the Project Schedule and the Contract Documents.

                                                             ARTICLE 8

                                                          PAYMENTS


                   8.1              Applications for Payment

                           (a)      Unless otherwise agreed or included as an exhibit hereto, within five (5) calendar
          days of the execution of this Contract, Contractor shall prepare and deliver to Owner a schedule of values
          satisfactory to Owner to be used for processing Contractor’s Applications for Payment. The schedule of
          values shall include detail sufficient such that Owner can identify and breakout various costs of the Work.
          Owner’s approval of the schedule of values is a condition precedent to Contractor’s right to payment. Once
          a schedule of values has been accepted by Owner, it cannot be changed without the consent of Owner.

                           (b)      Partial payments of the Contract Sum shall be paid by Owner to Contractor as
          follows; Contractor shall furnish to Owner (and if requested by Owner, to Owner, Lender and/or Architect)
          an application for payment in standard industry form (“Application for Payment”) together with supporting
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            documentation in form and substance satisfactory to Lender and Owner at the time specified in any exhibit
            hereto or if none, on or before the 25"’ day of each calendar month, for Work performed by Contractor from
            the P* day to the 25"' day of the month and projected through the end of the month. Change Orders and
            materials which are stored (on or off-site) but have not been incorporated in the Project shall be listed
           separately on each Application for Payment. If Owner approves the Application for Payment, and all Work
           performed by Contractor theretofore, and all materials stored on or off-site which may or may not already
           be erected in place by Contractor theretofore, and if Owner is satisfied that the Work still to be done and
           the materials still to be furnished by Contractor can be completed within the Contract Sum, Owner, upon
           the approval of the Application for Payment or so much thereof as may have been found to be correct, shall
           make payment to Contractor of the amount so approved, less Retention and any setoffs or deductions
           permitted under the Contract, within forty-five (45) calendar days unless otherwise stated in an exhibit
           hereto or any lesser period required by law. As a condition precedent to payment, Contractor shall provide
           to Owner a conditional lien release in the form annexed hereto, including same from Contractors’
           Subcontractors and suppliers showing the names and addresses of such Subcontractors and suppliers. In
           the event Architect, Owner or Lender disapprove any items on the Application for Payment, Owner shall
           prepare a written statement describing those items in the Application for Payment that are disapproved at
           the time payment is made for the approved items.

                            (c)      Final payment shall be made by Owner to Contractor upon submission of an
           Application for Payment following Owner’s confirmation of Final Completion of the Work, and provided
           such final Application for Payment includes (i) a final mechanic’s lien release in the form annexed hereto,
           and a general release offender, and Owner, duly executed by Contractor, together with good and sufficient
           evidence that the premises are free from all liens and claims chargeable to the said Contractor, (ii) evidence
           that required signoffs and/or filings by Contractor with the applicable governmental agencies have been
           made, and (iii) all applicable warranties, guarantees, as-built drawings and complete and accurate manuals
           (including manuals, indexed and suitably bound, containing the manufacturers’ instructions for
           maintenance and operation of each item of equipment and apparatus furnished under the Contract).

                            (d)      If at any time there shall be any lien or claim for which, if established. Owner or
          Lender, or any successor thereto, may be liable and which would be chargeable to Contractor, Owner shall
          have the right to retain out of any payment then due or thereafter to become due an amount sufficient to
          completely indemnify Owner and Lender against any and all costs and expenses arising out of such lien or
          claim until it shall be effectively satisfied, discharged or canceled. Should there prove to be any such lien
          or claim after all payments are made. Contractor shall pay to Owner and/or Lender all monies that Owner
          and Lender may be compelled to pay in discharging any such lien or claim.

                           (e)     No payment made under this Contract shall be evidence of specific performance
          of this Contract either wholly or in part against any claim of Owner, and no payment shall be construed to
          be an acceptance of any defective Work.

                           (f)     Each Application for Payment by Contractor shall constitute a representation by
          Contractor that (i) the partial payment then requested to be disbursed has been incurred by Contractor on
          account of the Work, (ii) the materials, supplies and equipment for which such requisition is being
          submitted have been installed or incorporated in the Project or have been stored at the Project Site or at
          such off-Project Site storage locations as shall have been approved in writing by Owner and/or Architect
          on behalf of Owner, and Lender; provided, however, that Owner and/or Lender shall not be obligated hereby
          to pay or advance monies for materials stored off-site, unless the materials and costs are separately itemized
          and approved in advance and in writing by Owner and Lender, (iii) the materials, including these stored off
          site have been properly insured and stored in a “bonded” warehouse and supplies and equipment are insured
          in accordance with the provisions of this Contract, (iv) the materials, supplies and equipment are not subject
          to any liens or encumbrances, (v) no mechanic’s, laborer’s, vendor’s, material man’s or other liens have
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           been filed in connection with the Project for any of the materials, supplies or equipment incorporated therein
           or purchased in connection therewith, (vi) the Work which is the subject of such requisition has been
           performed in strict accordance with the Contract Documents and all applicable Legal Requirements, and
           (vii) that the partial payment then requested to be disbursed, together with all sums previously disbursed
           under prior requisitions, does not exceed that portion of the Contract Sum which is allocable to the portion
           of the Work actually completed up to the date of such requisition and that the remainder of the Contract
           Sum (as the same may have been adjusted hereunder) will be sufficient to pay in full the costs necessary to
           perform and complete the Work. Contractor shall execute a payment receipt, on demand therefor, in a form
           provided by Owner, which is acceptable to Owner and Lender at the time of each payment when requested
           by Owner.

                          (g)     In the event Contractor fails to provide any Application for payment within the
           time required by Owner, in order for Owner to submit its application for payment to Contractor,
           Contractor’s Application for Payment shall be submitted with Owner’s next following requisition to
           Contractor.

                            (h)     Owner, Lender, Architect, or any of them, may decline to approve a requisition for
           payment in whole or in part, or decline to make a payment or may disapprove a previously approved
           requisition for payment for the following reasons;

                                    (i)                        defective Work not remedied;

                                   (ii)    claims/lawsuits tendered by or on behalf of Owner which have not been
           accepted by Contractor’s insurance company for defense and indemnification;

                                  (iii)  failure of Contractor to make payments to its Subcontractors or suppliers
           or employees properly due including payments required to be made pursuant to collective bargaining
           agreements and other employer/employee agreements;

                                  (iv)        reasonable evidence that the Work cannot be completed for the unpaid
          balance of the Contract Sum;

                                   (v)        damage to the Work or the work of another contractor for which
          Contractor is responsible;

                                  (vi)        reasonable evidence that the Work will not be completed within the
          required completion time;

                                    (vii)                     erroneous estimates by Contractor of value of Work performed;

                                    (viii)    material safety violations by Contractor or other violations of Legal
          Requirements;

                                    (ix)                      any liens have been filed against the Project;

                                    (x)      other material failures of Contractor to perform in accordance with the
          Contract Documents;

                                    (xi)     failure to include the proper Retention, as set forth below;

                                  (xii)      failure to perform the Work in a prompt and diligent manner in accordance
          with the Project Schedule;
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                                    (xiii)   execution of pending back-charges;

                                    (xiv)    insufficient evidence that all systems are operating properly.

                            (i)     The Contract retention (“Retention”) shall be as set forth in an exhibit hereto or if
           none, then equal to ten percent (l0%) of the value of Work in place. When fifty percent (50%) of
           Contractor’s Work has been performed, Retention may be reduced in Owner’s sole discretion. Retention
           will be released with the final payment.

                         (i)      Contractor and Subcontractors and suppliers of every tier shall comply with all
           Legal Requirements, including prompt payment acts and trust fund statutes.

                            (k)    Contractor shall include this Section in each Subcontract and purchase order and
           shall require each Subcontractor and supplier to include this Section in each lower-tier Subcontract.

                             (I)     Any and all funds paid to Contractor hereunder are hereby declared to constitute
           trust funds in the hands of Contractor, to be applied before application to any other purpose to the payment
           of: (i) claims of Subcontractors, suppliers, materialmen or other entities performing work and employed by
           Contractor, (ii) to claims for utilities furnished and taxes imposed, and to the payment of any premiums on
           surety bonds and other bonds filed, and any premiums on insurance accruing during performance of the
           Work, and (iii) any indemnity obligations of Contractor hereunder. Owner reserves the right to issue two-
           party checks in connection with payments due and owing to Contractors’ Subcontractors, in which event
           Contractor shall endorse such check and provide it to Owner for delivery to the applicable Subcontractor
           or supplier.

                   8.2     Title, Liens and Claims

                     Title to all Work, including, without limitation, materials and equipment, shall pass to Owner,
           Lender and/or Owners partners as appropriate upon incorporation of the Work, materials and equipment
           into the Project or upon payment therefor, whichever shall first occur. Contractor warrants and agrees that
          all materials and equipment incorporated by it in the Project and all materials and equipment delivered by
           it at the Site for incorporation in the Project shall be free of any and all liens, claims, chattel mortgages,
          security interests, encumbrances and conditional sales agreements in favor of Contractor, or any of its
          Subcontractors, suppliers, or other persons or entities, of all tiers. Contractor further agrees that any monies
          it shall receive in payment for Work performed under this Contract shall be received in trust and used to
          discharge its financial obligations with respect to the Work. Contractor further agrees that it will not file or
          cause to be filed any mechanic’s lien for materials or equipment furnished or to be furnished and/or for
          labor performed or to be performed unless default shall first have been made by Owner in making a payment
          under this Contract and ten (10) calendar days prior written notice of such default shall have been given to
          Owner. Contractor further agrees that, provided Contractor has been paid undisputed sums in accordance
          with this Contract, if any Subcontractor or any supplier or anyone claiming by or through Contractor or
          such Subcontractor or supplier shall file or cause to be filed any lien. Contractor will, upon notice from
          Owner, provided Contractor has been paid undisputed sums in accordance with this Contract, cause such
          lien to be canceled and discharged within ten (10) calendar days from such notice at Contractor’s sole cost
          and expense; and in the event of Contractor’s failure to do so, Owner, and/or Lender shall have the right to
          cause such lien to be canceled and discharged by bonding or otherwise and in that event any expense so
          incurred by Owner and/or Lender, including the premiums upon any bond furnished for such cancellation
          and discharge and reasonable attorneys’ fees and disbursements, shall be paid by Contractor, or at the option
          of Owner, shall be deducted from any payment then due or thereafter becoming due from Owner to
          Contractor. Contractor shall indemnify, defend and pay all costs and expenses, including premiums,
          attorney fees and disbursements, arising out of or related to any action with regard to such lien. In the event
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           of any breach by Contractor of any of the terms of this Section, Owner shall have the option to terminate
           this Contract and the employment of Contractor for cause. Said right shall be cumulative and shall be in
           addition to any and all other rights and remedies herein or otherwise by law given to Owner.

                   8.3      Contractor’s Work Documents

                           (a)     Contractor hereby agrees to furnish and/or make available for inspection by Owner
           and/or Lender, during reasonable business hours. Contractor’s books and records relating to construction
           work being performed or the acquisition of any material or equipment to be incorporated into the Project.
           Upon reasonable notice from Owner or Architect, these records shall be available at Contractor’s office
          during business hours for audit and copying by Owner, Owner and/or governmental authorities having
          jurisdiction over the Work. Contractor shall retain these records for six (6) years after its receipt of final
          payment.

                            (b)       In addition. Contractor shall maintain, and shall require its Subcontractors to
           maintain, all records related to the compliance of the Project’s design and construction with the ADA, the
           FHA, the Accessible Design Requirements and the Standard. Upon reasonable notice from Owner or
           Architect, these records shall be available at Contractor’s office during business hours for audit and copying
           by Owner, Owner and/or governmental authorities having jurisdiction over the Work. Contractor shall
           retain these records for six (6) years after its receipt of final payment.

                                                             ARTICLE 9

                             SAFETY AND PROTECTION OF PERSONS AND PROPERTY


                   9.1             Protection of Persons and Property

                          (a)     Contractor shall comply with all applicable terms and conditions of any safety
          requirements established by Owner from time to time.

                           (b)     Contractor shall protect its Work and materials by standard industry methods so
          that same will not be marred by the work or workers of other trades during installation and until final
          acceptance of the Work. Contractor shall have full responsibility to install, protect and maintain all materials
          in proper condition and forthwith repair, replace and make good any damage thereto until final acceptance
          of the Work hereunder. Contractor shall also temporarily protect any permanently installed work that may
          be damaged during installation of Contractor’s Work hereunder. To the fullest extent permitted by law,
          neither Owner nor Architect will in any manner be answerable or accountable for any loss or damage that
          shall or may happen to the Work or any part or parts thereof respectively or for any of the materials or other
          things used and employed in finishing and completing the Work, or for injury to any person or persons,
          either workers or the public, or for damage to property.

                            (c)     Contractor further agrees that it will, during the performance of the Work, take
          proper precautions to prevent injury or damages to persons or property, including all adjoining properties
          and structures. Contractor shall take all necessary steps to protect and secure its Work, materials, tools,
          scaffolding, equipment, buildings, trailers and work shacks from vandalism, theft and fire damage; to the
          fullest extent permitted by law, neither Owner nor Architect shall be responsible for losses or damages to
          such items.

                         (d)      Contractor assumes the risk of loss or damage, both direct or indirect, of whatever
          nature to the Work or to any materials and equipment furnished, used, installed or received by Owner or
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           Architect, for material men or workmen in preparation for and in performing services or furnishing
           materials and equipment for the Work. Contractor shall bear sucli risk of loss or damage until final
           acceptance of the Work by Owner.

                           (e)       In an emergency affecting the safety of person or property Contractor shall act, at
           Contractor’s discretion, to prevent threatened damage, injury or loss.

                            (f)     Contractor shall be responsible for seeing that its suppliers and Subcontractors of
           all tiers comply with the requirements of this Article.

                           (g)      Contractor shall immediately (on the same day) notify Owner of any accident
           resulting in bodily injury to its employees or persons or damage to any property regardless of cause or
           extent of bodily injury or damage to property and promptly furnish to Owner copies of the “Supervisor’s
           Accident Report” or its equivalent.

                   9.2      Hazardous Materials

                            (a)      Contractor shall not cause or permit the Project or the Project Site to be used to
          generate, manufacture, refine, transport, treat, store, handle, dispose, transfer, produce or process
           Hazardous Materials and Hazardous Substances, except in compliance with all applicable federal, state and
          local laws or regulations as required for completion of the Work, nor shall Contractor cause or permit, as a
          result of any intentional or unintentional act or omission on the part of Contractor, or any Subcontractor or
          vendor, a release of Hazardous Materials and Hazardous Substances onto the Project Site or onto any other
          property. Contractor shall defend, indemnify, and hold harmless Owner and any Indemnitees from and
          against any claims, demands, penalties, fines, liabilities, settlements, damages, costs, or expenses of
          whatever kind or nature, known or unknown, contingent or otherwise, arising out of, or in any way related
          to (i) the presence, disposal, release, or threatened release of such Hazardous Materials and Hazardous
          Substances which are the responsibility of Contractor and are on, from or affecting the soil, water,
          vegetation, buildings, personal property, persons, animals, or otherwise, (ii) any bodily injury, personal
          injury (including wrongful death) or property damage (real or personal) arising out of or related to such
          Hazardous Materials and Hazardous Substances, (iii) any lawsuit brought or threatened, settlement reached,
          or government order relating to such Hazardous Materials and Hazardous Substances, (iv) any violation of
          laws, orders, regulations, requirements, or demands of government authorities, or any policies or
          requirements of the Indemnitees, which are based upon or in any way related to such Hazardous Materials
          and Hazardous Substances, and/or (v) in any way related to Contractor’s failure to perform its obligations
          hereunder, including, without limitation, attorney and consultant fees, investigation and laboratory fees,
          court costs, and litigation expenses. The provisions of this Section shall be in addition to any and all other
          obligations and liabilities Contractor may have at common law, and shall survive Final Completion of the
          Work.

                                                          ARTICLE 10

                                    INDEMNITY AND INSURANCE REQUIREMENTS


                   10.1    Insurance Requirements

                        The parties hereby agree that the Project shall be insured as set forth in the Insurance
          Requirements Exhibit hereto.
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                   10.2     Indemnity Requirements

                             (a)      To the fullest extent permitted by law, Contractor shall indemnify, defend (with
           counsel acceptable to Owner) and hold harmless Owner, Lender, all Additional Insureds, and such other
           entities as Owner may reasonably require from time to time, together with all entities and individuals
           owning a beneficial interest in such entities and their respective officers, partners, principals members,
           parents, affiliates, managers, shareholders, directors, agents, employees, servants, successors and assigns
           (collectively, “Indemnitees”, individually, “Indemnitee”) from and against all losses, claims (including
          without limitation those alleging injuiy to third parties or damage to property of third parties), demands,
          causes of action, lawsuits, liens, costs, charges, fines, penalties, damages (including without limitation any
          personal injury, sickness, disease or death, or damage or injury to, loss of or destruction of property, and
          the loss of use resulting therefrom, and damage to the Work and/or the work of others), expenses (including
          without limitation the deductible amount of any insurance, self-insured retention payments, attorneys’ fees
          and disbursements, court costs, expert witness fees and expenses, and any resulting settlement, judgment,
          or award), liabilities (including without limitation any economic loss suffered by the Indemnitees),
          obligations, actions and judgments (collectively, “Claims”), to the extent arising from, in connection with
          or relating to: (i) the performance (or non-performance) of the Work; (ii) any negligent or wrongful act or
          omission of Contractor, its employees. Subcontractors, representatives or other persons for whom
          Contractor is responsible; (iii) any breach of the Contract Documents by Contractor, its employees.
          Subcontractors, representatives or other persons for whom Contractor is responsible; (iv) any claim
          asserted, or lien or notice of lien filed, by any Subcontractor or supplier of any tier against the Project, or
          against any Indemnitee in connection with the Work; (v) any violation of Legal Requirements by
          Contractor, its employees. Subcontractors, representatives or other persons for whom Contractor is
          responsible; and (vi) failure to secure and pay for permits, fee approvals, licenses, and inspections as
          required under the Contract Documents, or any violation of any permit or other approval of a public
          authority applicable to the Work by Contractor, its employees. Subcontractors, representatives or other
          persons for whom Contractor is responsible. Such obligations shall arise regardless of any claimed liability
          on the part of an Indemnitee, provided, however. Contractor shall not be required to indemnify any
          Indemnitee to the extent attributable to such Indemnitee’s negligence. Such obligation shall not be
          construed to negate, abridge, or otherwise reduce any other right or obligation of indemnity which would
          otherwise exist as to any Indemnitee.

                           (b)      In any and all claims against any Indemnitee by any employee of Contractor or of
          its Subcontractors or anyone directly or indirectly employed by either Contractor or its Subcontractors or
          anyone for whose acts either Contractor or its Subcontractors may be liable, the indemnification obligation
          herein shall not be limited in any way by any limitation on the amount or type of damages, compensation
          or benefits payable by or for Contractor under workers’ compensation acts, disability acts or other employee
          benefit acts.

                           (c)      No provision requiring the furnishing of insurance shall be construed to affect,
          impair, or excuse Contractor’s obligation to indemnify and save the Indemnitees as set forth above; any
          amounts payable to the Indemnitees by reason of the application of the indemnification provisions herein
          shall be paid promptly upon the arising of Contractor’s obligations under such provisions. If a Claim is
          asserted against any Indemnitee, Owner may withhold from any payment under this Contract an amount
          sufficient to protect and indemnify the Indemnitees to the full extent required under the indemnification
          provisions herein. Should Contractor fail to perform its duties to defend and indemnify any of the
          Indemnitees as required herein, and upon written notice by Owner of such failure and allowing reasonable
          time for Contractor to cure. Owner and the other Indemnitees may defend or settle such claims as they deem
          prudent, in the exercise of reasonable judgment, and Contractor agrees to be bound by any such defense,
          settlement, judgment, or award that may result from such action by Owner or the other Indemnitees.
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                           (d)     The indemnity obligations herein shall survive the completion of performance
           under, and termination of, this Contract. Contractor shall require that all Subcontractors it retains defend,
           indemnify, and hold harmless the Indemnitees to the same extent that Contractor is required to defend,
           indemnify and hold harmless the Indemnitees hereunder.

                           (e)     Contractor shall reimburse the Indemnitees for all costs, expenses and attorneys’
           fees incurred pursuing or enforcing any of the provisions of this Section.

                   10.3    Surcty-jjeii4s

                           (a)       As-a-eondifion of this-Gontfaet^Qwirer-may require Contractor to furnish, on
           demand, apcrformancc-bond and^a-separate payment bendrwhich payment bond-shall pravide=a-di'reet-4=ight
           of action against the--surety by ^elaimant-^Any -requirements for samc--^h-al-l=be=idcntificd in the Confraet


                                                          ARTICLE 11

                                            SHOP DRAWINGS AND SAMPLES


                   11.1              General Requirements

                          (a)    Contractor shall review, approve, stamp and submit through Architect or Owner
          promptly, in accordance with agreed and approved schedules for submissions, and in ail events in such
          sequence as to not cause any delay whatsoever in the Work of Owner, or of any separate contractor, all
          shop drawings, coordination drawings, product data and samples required to complete the Work.

                            (b)    By approving, stamping and submitting shop drawings, product data and samples.
          Contractor represents that it has determined and verified all materials, field measurements, and field
          construction criteria related thereto and that it has checked and coordinated the information contained
          within such submittals with the requirements of the Work and of the Contract Documents and with the
          requirements of other sections or trades related thereto as may be required for the proper and complete
          installation of the Work. Contractor agrees to review the shop drawings of Subcontractors as necessary for
          proper interfacing on the Project.

                          (c)     If either Owner or Architect finds shop drawings or submittals not to be complete
          or in proper form, they may return them to Contractor for immediate correction or completion and
          Contractor hereby agrees to immediately correct or complete same, as the case may be, and resubmit same.
          Any delays resulting from such incomplete or incorrect submissions shall be the responsibility of Contractor
          and such submissions shall only be deemed submitted for purposes of satisfying Contractor’s obligations
          hereunder with respect thereto when they are submitted in correct, complete and proper form.

                           (d)     Contractor shall not be relieved of responsibility for any deviation from the
          requirements of the Contract Documents by the forwarding of shop drawings, product data or samples to
          Architect, or by Architect’s approval thereof unless Contractor has given written notice thereof to Architect
          and Owner at the time of submission and Architect and/or Owner has given written approval to the specific
          deviation.

                          (e)    No portion of the Work requiring submission of a shop drawing, product data or
          sample shall be commenced until the submittal has been approved in writing by Architect or Owner. All
          such portions of the Work shall be performed strictly in accordance with approved submittals.
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                            (f)      Architect shall furnish to Contractor from time to time such further drawings or
           explanations as may be necessary to detail and illustrate the Work, and Contractor shall conform to the
           same as part of this Contract without additional cost. Contractor shall exercise the utmost diligence to obtain
           in a timely manner all drawings and other information necessary to fulfill the Work.

                             (g)     Architect’s review of shop drawings, product data, samples and calculations and
           on-site observation of the construction work is to determine if Contractor’s submittals and Work appear to
           be in general conformance with the design concept set forth in the Contract Documents prepared by
           Architect. It is understood that Architect’s review shall not be considered to be complete in every detail or
           exhaustive and shall also not relieve any Contractor, Subcontractor, manufacturer, supplier, fabricator,
           consultant, or third party from responsibility for any deficiency that may exist or for any departures or
           deviations from the requirements of the Contract Documents or for the responsibility to coordinate the
           Work, or portion of the work, of one trade with another.

                            (h)     All charges in connection with the delivery of shop drawings to Owner’s office
           shall be paid by Contractor and are included in the Contract Sum.

                   11.2    Sample Requirements

                            Contractor shall furnish, for the approval of Architect and Owner, all such samples as may
          be required in the Contract Documents or if otherwise required by Owner. In such case, samples shall be
          submitted from the same source which will supply the actual job. Samples shall be of adequate size to show
          quality, type, color, range, finish, texture and other specified characteristics.

                                                          ARTICLE 12

                                                     SUBCONTRACTING


                   12.1            Subcontractors

                         (a)      All work to be performed by any subcontractor shall be by written contract
          complying with all requirements of this Contract.

                          (b)    Unless otherwise agreed or specified in the exhibits hereto, before entering into
          any Subcontract, Contractor shall submit to Owner for Owner’s approval in its reasonable discretion the
          following information with respect to the proposed Subcontractor:

                                   (i)      the name and address of the Subcontractor;

                                (ii)     a description of the portion of the Work and type of activity to be
          performed by the Subcontractor; and

                                 (iii)   such other information as is necessary to meet the pre-qualification or
          other requirements of Owner or Lender.

                          (c)     Approval by Owner does not relieve Contractor of its responsibility for the Work
          or any other Contractor obligation under this Contract.

                         (d)     Contractor shall have full responsibility for all portions of the Work performed by
          every Subcontractor and for all acts and omissions (whether willful, negligent, or otherwise) of every
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           Subcontractor and such Subcontractor’s employees. All work, acts, omissions, and statements, written or
           oral of every Subcontractor and such Subcontractor’s employees shall be deemed those of Contractor for
           all purposes of the Contract.

                             (e)    Without limitation as to all other requirements of this Contract, Subcontractors
           shall carry the insurance required by this Contract unless otherwise agreed by Owner in advance.

                            (f)      Contractor’s execution of any Subcontract shall be deemed a representation to
           Owner that Contractor has informed the Subcontractor fully and completely of all requirements of this
           Contract relating directly or indirectly to the Subcontractor’s work.

                          (g)     Nothing contained in this Contract shall create any relationship of contract or
           agency between Owner and any Subcontractor, notwithstanding Owners’ approval of any Subcontractor.
           Contractor acknowledges and agrees that Owner shall have no obligation whatsoever to supervise or deal
           with any Subcontractor or its employees or to pay any Subcontractor or its employees. No dealings of any
           kind whatsoever between Owner or Architect and any Subcontractor shall be deemed a waiver of the
           foregoing by Owner.

                             (h)     Contractor hereby assigns to Owner (and to Lender) all its interest in any
           Subcontracts for performance of any part of the Work, which assignment will be effective upon acceptance
           of Owner (or Lender) in writing and only as to those Subcontracts which Owner (or Lender) designates in
           said writing. It is agreed and understood that Owner (or Lender) may accept said assignment at any time
           during the course of construction prior to Final Completion. All Subcontracts shall include language
           acknowledging the assignment set forth in this Section.

                            (i)   Contractor hereby agrees to include the following provisions in every Subcontract
          and/or purchase order relating to the purchase by Contractor of materials, merchandise, goods or products
          to be installed and made a part of the improvement of premises hereunder:

                                    (i)      Subcontractor expressly agrees that Owner and Lender shall be third-party
          beneficiaries of all of the obligations of the Subcontractor hereunder, including without limitation, the
          beneficiary of all warranties, expressed or implied, which Subcontractor makes hereunder relating to
          materials, equipment, goods, merchandise or products (“Materials”) to be sold hereunder by Subcontractor.
          Nothing herein shall be construed to make this an agreement between Lender, or Owner, and Subcontractor
          except to the extent provided in the immediately preceding sentence and Subcontractor acknowledges that
          it has no contractual rights, expressed or implied, that it can assert against Lender, or Owner; and

                                     (ii)   Without limiting in any manner any obligations of Subcontractor with
          respect to the quality of the Materials, Subcontractor expressly warrants and agrees that the Materials to be
          furnished hereunder shall be merchantable and shall be fit for the purpose for which such Materials are
          purchased.
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                                                           ARTICLE 13

                                               DEFAULT AND TERMINATION


                 13.1    Owner’s Right to Stop the Work and Perforin the Work in the Event of Default;
           Termination for Cause

                            (a)      In the event of Contractor’s default hereunder by its failure to perform any task or
           obligation required hereunder, Owner may, without prejudice to any other remedy Owner may have, upon
           two (2) business days prior written notice to Contractor, but shall not be obligated to, perform or cause to
           be performed such task or obligation and charge Contractor for all costs and expenses incurred by Owner,
           Lender and Architect in connection therewith. In such case. Owner shall deduct from the payment then or
           thereafter due to Contractor all costs and expenses incurred by Owner, Lender, and Architect in correcting
           such deficiencies, including compensation for Architect, and its consultants and/or Owner’s other
           consultants for additional services made necessary by such default, neglect or failure. If the payments then
           or thereafter due to Contractor are not sufficient to cover such amounts. Contractor shall pay the difference,
           after demand therefor to Owner.

                             (b)      If Contractor fails to correct defective Work as required elsewhere hereunder or
           persistently fails to carry out the Work in accordance with the Contract Documents, Owner, by a written
           order signed by Owner, may order Contractor to stop the Work, or any portion thereof, until the cause for
           sucli order has been eliminated; however, this right of Owner to stop the Work shall not give rise to any
           duty on the part of Owner or its agents to exercise this right for the benefit of Contractor or any other person
           or entity.

                            (c)     Should Contractor be adjudged bankrupt, or make a general assignment for the
           benefit of creditors, or should a petition under the Bankruptcy Act or under any other act relating to
           insolvency be filed by or against Contractor, or should a receiver be appointed on account of its insolvency,
          or should Contractor at any time refuse or neglect to supply a sufficiency of properly skilled workmen or
          materials of the proper quality and quantity, or fail in any respect to prosecute the Work in accordance with
          the Project Schedule, or fail to pay its Subcontractors suppliers or laborers amounts due and owing, or fail
          to pay amounts due pursuant to any collective bargaining agreement or any other agreement which requires
          Contractor to pay dues or fringe benefits in connection with labor, or fail in the performance of any of the
          obligations on its part herein contained. Owner may, if Contractor fails to cure such default within five (5)
          business days after receipt of written notice from Owner (or within one (1) calendar day after receipt of
          written notice from Owner if the default involves any breach of safety laws, regulations or requirements),
          in addition to any other rights provided hereunder or otherwise by law, stop the Work and/or terminate this
          Contract, and cause the Work to be performed and completed and deduct the cost thereof from any money
          due or thereafter to become due to Contractor for the said Work. In addition, Owner may enter upon the
          Site and take possession of all materials, tools and equipment of every kind whatsoever thereon, and employ
          any other person or persons to finish the Work, and to provide the materials therefor. In the event of
          termination under this Section, Contractor shall not be entitled to receive any further payment under this
          Contract even if there is a balance remaining under this Contract until all costs, expenses, losses and
          damages have been deducted. In addition, if the expenses incurred by Owner in finishing the Work shall
          exceed the unpaid balance of the amount to be paid under this Contract, Contractor shall pay the difference
          to Owner. Upon the termination of this Contract, Owner may engage Contractor’s Subcontractors and
          suppliers to complete the Work. The liability of Contractor shall extend to and include, without limitation,
          the full amount of the costs and other liabilities incurred and obligations assumed in good faith under the
          reasonable belief that such costs, liabilities or obligations were necessary or required, whether or not they
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           were in fact necessary or required. An itemized statement of such obligations, liabilities and payments shall
           be prima facie evidence of Contractor’s liability.

                           (d)     Contractor shall not interfere, directly or indirectly, with Lender’s or Owner’s right
           and attempt to complete the Work by others.

                            (e)      The failure of Contractor to include any requirement in a Subcontract which it is
           required to include as set forth in this Contract shall constitute grounds for termination for cause under this
           Contract.

                           (f)     Should any termination for default pursuant to this Section be determined to be
           invalid, improper or wrongful, such termination shall be deemed to have been a termination without cause
           as provided herein.

                     13.2   Termination Without Cause

                            (a)     Owner may terminate this Contract, in whole or in part, at any time without reason,
           even though Contractor is not in default hereunder upon written notice from Owner setting forth the
           effective date of the termination. In such event. Contractor shall take the following actions or such other
           actions as reasonably requested by Owner:

                                     (i)      stop all Work under this Contract on the date, and to the extent, specified
           in the notice of termination;

                                   (ii)    enter into no further Subcontracts except as may be necessary for
           completion of such portion of the Work under this Contract, if any, which is not terminated;

                                   (iii)   obtain Owner’s direction as to whether to terminate any Subcontracts or if
          Owner will be accepting assignment of same, and if terminating, settle all outstanding liabilities and all
          claims arising out of such termination.

                            (b)     In the event of a termination of this Contract pursuant to the provisions of this
          Section:

                                    (i)     neither Contractor or any Subcontractor shall be entitled to recover
          anticipated profits on account of Work unperformed or on account of material or equipment not purchased,
          nor for reimbursement for losses arising out of matters covered by insurance, but shall be limited to
          recovering only the reasonable and actual approved out-of-pocket costs and expenses incurred by such
          Subcontractor for Work satisfactorily performed or materials, supplies and equipment procured, ordered,
          fabricated, incorporated or installed in the Project prior to the effective date of such termination, along with
          reasonable and verifiable demobilization and closeout expenses;

                                    (ii)     Contractor shall use its best efforts to sell, in the manner, at the times, to
          the extent, and at the price or prices directed or authorized by Lender or Owner, fabricated or unfabricated
          parts and materials. Work in progress, completed Work, supplies and other materials and equipment
          produced as a part of, or acquired in connection with the performance of, the Work; provided, however,
          that Contractor (x) shall not be required to extend credit to any purchaser, and (y) may acquire any such
          property under the conditions prescribed and at a price or prices approved by Lender or Owner; and
          provided, further, that the proceeds of any such transfer or disposition shall be applied in reduction of any
          payments to be made by Owner to Contractor under this Contract;
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                                    (iii)   complete performance of such part of the Work as shall have been
           specified in the notice of termination to be completed on or before the effective date of such termination;
           and

                                    (iv)    prior to the effective date of such termination, take such actions as may be
           necessary, or as Lender or Owner may reasonably direct, for the protection and preservation of the property
           related to the Work and the Project which is in the possession of Contractor and in which Lender or Owner
           has or may acquire an interest.

                             (c)    In the event of termination pursuant to this Section, Owner shall pay Contractor
           for the Work performed prior to the effective date of such termination (it being agreed that in no event shall
           such payment exceed the percentage of the Contract Sum equal to the percentage of Work completed), and
           all costs incurred with Owner’s prior written approval in settling or discharging commitments entered into
           in good faith by Contractor in connection with performance of the Work; provided that the workmanship,
           materials and equipment for which payment is to be made as aforesaid are in accordance with the
           requirements of this Contract. There shall be deducted from the amount determined above all payments
           previously made and all amounts which Owner is entitled to charge Contractor under this Contract. In no
           event shall the amount to be paid to, or for the account of. Contractor pursuant to this Section plus all
           amounts previously paid Contractor under this Contract exceed the Contract Sum, as adjusted. In the event
           of termination pursuant to this Section, Contractor shall remain responsible for all of its obligations and all
           Work performed prior to the date of such termination.

                   13.3              Suspension of the Work

                   Owner may, at any time and for any reason, direct Contractor to suspend or re-sequence the Work
           or any portion thereof for a period of time, and Contractor shall comply with such request immediately
           upon notice thereof. Such direction shall be in writing and shall, if applicable, specify the period during
           which the Work is to be suspended (the “Suspension Period”). Contractor shall resume the Work upon the
           date specified in such direction or upon such other date as Owner may thereafter specify in writing. A
           suspension pursuant to this Section shall be recognized as a Contemplated Delay.

                   13.4             Termination by Contractor

                   If, without good cause. Owner fails for a period of thirty (30) calendar days after the due date to
          make payment on any approved Application for Payment, then Contractor shall immediately serve Owner
          and Lender with notice thereof, and, if Owner shall fail to make such payment within fifteen (15) calendar
          days after receipt of such notice, then this Contract may be terminated by Contractor by written notice to
          Owner and Lender setting forth the date of termination, which date shall not be sooner than fifteen (15)
          calendar days after the date of the notice. If, within said fifteen (15) calendar day period, the matter giving
          rise to Contractor’s right to terminate this Contract shall not have been cured or discontinued. Contractor
          shall be deemed terminated for convenience and Contractor shall be compensated in the manner and to the
          extent set forth herein.
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                                                         ARTICLE 14

                                                        WARRANTIES


                   14.1              Warranties

                             (a)      Contractor warrants to Owner, Lender and Architect that all materials and
           equipment furnished under this Contract will be new unless otherwise specified and that all Work will be
           of first-class quality, free from faults and defects and in conformance with the Contract Documents. All
           Work not conforming to those requirements, including substitutions not properly approved and authorized,
           may be considered defective. If required by Owner, Lender, or Architect, Contractor shall furnish
           satisfactory evidence as to the kind and quality of materials and equipment supplied hereunder.

                            (b)     Contractor hereby agrees that all warranties and guarantees in this Contract, or in
           respect of the Work and materials covered hereby, made by Contractor shall inure to the benefit of Owner,
           and to assignees and/or designees of Owner, including, without limitation, to Owners partners if applicable
           who will be third-party beneficiaries of such warranties and guarantees and may enforce directly against
           Contractor all such warranties and guarantees without set-off or defenses of Contractor by reason of any
           dispute between Contractor and Owner including but not limited to payment by Owner to Contractor of all
           or part of any monies alleged due and owing pursuant to this Contract.

                            (c)     If, within one (1) year after the date of Final Completion of the Project or
          designated portion thereof (or if this Contract is earlier terminated, within one (1) year following the date
          of such earlier termination), or within such longer period of time as may be prescribed by the terms of any
          applicable special warranty required by the Contract Documents, any of the Work is found to be defective
          or not in accordance with the Contract Documents, Contractor shall correct it promptly after receipt of a
          written notice from Owner to do so, and Contractor will further repair any Work or damages as a result of
          said defective or improper workmanship or material, or damage in connection with the repair of same at no
          cost to Owner. This obligation shall survive both final payment for the Work or designated portion thereof,
          and termination of the Contract.

                          (d)     Contractor shall obtain and deliver to Owner any specific warranties given by its
          Subcontractors or suppliers which shall expressly provide that they are for the benefit of and enforceable
          by Owner and Lender, and their successors, assigns and/or designees, as well as Contractor.

                          (e)     If Lender, or Owner shall perform or arrange for the performance of corrective
          work required to be performed by Contractor but which Contractor has failed or refused to perform, upon
          due notice. Contractor’s warranties and guarantee hereunder shall not be affected in any manner, and
          Contractor hereby expressly waives all claims that its warranties or guarantee were impaired due to the
          corrective work performed by, or at the direction of Lender, or Owner.

                          (f)      The warranties and guarantee provided for in the Contract Documents are in
          addition to and not a limitation of any rights Owner or Lender may have under the terms of the Contract
          Documents.
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                                                             ARTICLE 15

                           RIGHT TO PERFORM WORK AND AWARD SEPARATE CONTRACTS


                    15.1             Right to Perform Work and Award Separate Contracts

                     Owner reserve the right to perform work related to the Project with their own forces and to award
           separate contracts in connection with other portions of the Project or other work on the Site under these or
           similar conditions whether or not similar to the type of work called for under this Contract with appropriate
           adjustment to the Contract Sum. Contractor shall afford Owner and other separate contractors the
           opportunity to install or cause the installation of equipment or furnishings in the Project, provided that such
           installation shall not materially interfere with Contractor’s performance of its obligations. The requirements
           of this Article shall be included in all Subcontracts.

                                                          ARTICLE 16

                                                              LENDER


                   16.1              Cooperation With Lender

                    For the purposes of this Contract “Lender” shall mean any institution providing financing or
          favorable tax treatment in connection with the construction of the Project. Contractor shall cooperate with
          Lender and, at the request of Owner, supply or cause to be supplied information and documentation such
          as change orders, contracts and purchase orders. Contractor’s Applications for Payment, and the names of
          all parties Contractor engages to perform the Work. Contractor may be required to perform its obligations
          under this Contract for the benefit of and to the satisfaction of Lender as well as Owner. Contractor shall
          make such changes, modifications or amendments to this Contract as may be reasonably requested by
          Owner or Owner acting at the request of Lender. Contractor shall cooperate and shall cause its
          Subcontractors to cooperate with Lender, as well as any consultant employed by Lender.

                                                          ARTICLE 17

                                                 ADDITIONAL PROVISIONS


                   17.1             Damages

                           (a)     If the Contractor fails to achieve Substantial Completion within two (2) weeks
          following the Substantial Completion Date set forth in the Project Appendix, from and after such date
          Contractor shall pay Owner liquidated damages in the amount set forth in the Project Appendix. Contractor
          agrees that damages to the Owner from Contractor’s failure to achieve the Substantial Completion date
          would be material and difficult to fully ascertain, and further agrees that the foregoing amount of liquidated
          damages is a reasonable approximation of the damages that would be suffered by the Owner and is not a
          penalty.

                           (b)      Except for liquidated damages due pursuant to the preceding section and except
          for any other specific provision in this Contract, Contractor and Owner waive claims against each other for
          consequential damages arising out of or relating to this Contract including losses of use, income, profit,
          financing, business and reputation, compensation of personnel. For the avoidance of doubt, the foregoing
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           waiver has no bearing upon and shall not be used to construe or limit in any manner Owner’s entitlement
           to liquidated damages regardless of the nature of harm suffered by Owner.

                    17.2             Notices and Project Communications

                            (a)       All notices hereunder shall be submitted in writing and personally delivered or sent
           by registered or certified mail, postage prepaid, or sent by a nationally recognized overnight courier service,
           addressed to the Parties and copy recipients set forth in the Project Appendix. Notices hereunder shall also
           be simultaneously transmitted to each Party’s primary point of contact via email.

                            (b)      Either party may change the address or addresses to which notice shall be delivered
           under this Contract by giving notice in accordance with this Article. All notices shall be deemed to have
           been given when received or refused if delivered personally or by nationally recognized overnight courier
           service, and five (5) calendar days after mailing if sent by registered or certified mail.

                            (c)      Each Party’s primary point of contact for the Project is identified in the Project
           Appendix.

                    17.3            Prohibition of Assignment of Contractor’s Obligations

                           Contractor shall not subcontract, assign or transfer this Contract or Contractor’s obligations
           under this Contract. Subcontracts are solely for performance of the work.

                    17.4            Assignment by Owner

                           Owner may assign this Contract to Lender or any other entity at any time, upon written
           notice to Contractor.

                   17.5             Approval

                    Notwithstanding anything in the Contract Documents to the contrary, whenever Owner’s approval
           is specified, required and/or otherwise noted in this Contract, it shall mean that such approval is required
           in writing.

                   17.6             Confidentiality, Project Information and Project Documents

                             (a)      Contractor shall keep confidential (and will require its employees, agents, and
          Subcontractors to keep confidential), and shall not copy or disclose to any third party without Owner’s prior
          approval, unless such disclosure is necessary in the proper performance of Contractor’s Work under this
          Contract, any information concerning (a) the business plans or business operations of Owner and/or any of
          their affiliates, (b) any space planning or programming or intended use of any portion of the Project or the
          Project Site, (c) any findings of Contractor in connection with the Work, and/or (d) the operations and use
          of the Project Site. Any information heard, obtained from observation or otherwise received, regarding any
          of the foregoing is considered confidential information for purposes of this paragraph.

                           (b)      Contractor further agrees not to publicly disclose any information with respect to
          the Project or the Project Site, including issuance of any public relations or press releases or other publicity
          and advertising, without the prior written consent of Owner, provided that Contractor may disclose
          information as necessary to the appropriate governmental authorities in an application for a permit,
          approval, or clearance and/or in connection with the performance of its Work under this Contract.
          Contractor is specifically prohibited from using images of the Project and/or photographs of any portion of
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           the Work for publicity or advertising or for any other purpose without the prior written permission of
           Owner, however, Contractor may include a description of its involvement with the Project in its company
           resume to prospective clients. Contractor further agrees not to display on or about the premises any sign,
           trademark or other advertisement, and to remove everything of an advertising nature when so directed by
           Owner.

                             (c)      Contractor agrees that the Contract Documents, technical data and other
           information received by it from Owner, Architect, and other consultants under or in connection with this
           Contract and any and all other information concerning Owner or Owner’s operations that Contractor may
           obtain or become aware of shall be accepted and treated as proprietary information which has a substantial
           commercial value to Owner, and that Contractor will not use or disclose any such Contract Documents,
           technical data and other information in any manner except to the extent that such use or disclosure may be
           necessary for the performance of the Work hereunder. Without limitation of the foregoing, all said
           documents furnished to Contractor are to be used only with respect to this Project and are not to be used on
           or in connection with any other project. Submission or distribution of documents to meet official regulatory
           requirements or for other proper and necessary purposes in connection with the performance of the Work
           at the Project shall not be construed as a violation of this Section.

                           (d)      Any and all drawings, specifications, plans, reports, sketches and other documents
           in connection with the Work that are prepared by Contractor and its Subcontractors (collectively the
           “Project Documents”) shall be deemed the property of, and owned by. Owner. Upon completion of the
           Work, or earlier termination thereof. Contractor shall deliver to Owner all materials it has obtained from
           Owner and/or third parties relating to the Work. Contractor shall furnish copies of the Project Documents
           immediately upon the request of Owner, and shall otherwise afford Owner access to the Project Documents
           on reasonable notice. Contractor shall preserve the Project Documents for a period of six (6) years after
           final payment, or for such longer period as may be required by law.

                         (e)      Nothing herein shall preclude Contractor from disclosing information, technical
          data or documents that are required to be disclosed by applicable law or judicial process.

                         (f)    The requirements of this Article shall survive the termination of this Contract and
          shall be binding upon the parties. Contractor shall include the requirements of this Article in all
          Subcontracts.

                     17.7           Binding Effect

                  This Contract shall bind and inure to the benefit of the parties hereto, their heirs, personal
          representatives, successors and permitted assigns.

                     17.8          Choice of Forum and Governing Law

                            (a)     The Contract shall be governed by the laws of the state where the Project Site is
          located.

                             (b)      Contractor hereby (i) irrevocably consents to the jurisdiction of the courts of the
          location of the Project Site, for all purposes in connection with any action or proceeding which arises from
          or relates to this Contract; (ii) waives knowingly and voluntarily for itself and all persons claiming by or
          through it, all right to a jury in any judicial proceedings; and (iii) waives any right it may have to personal
          service of summons, complaint, or other process in connection therewith, and agrees that service may be
          made by registered or certified mail addressed to Contractor at its last known principal place of business.
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                   17.9             Severability

                    If any provision of the Contract Documents is invalid or unenforceable as against any person or
           party, the remainder of the Contract Documents and the applicability of such provision to other persons or
           parties shall not be affected thereby. Each provision of the Contract Documents shall, except as otherwise
           herein provided, be valid and enforceable to the fullest extent permitted by law.

                   17.10             Rights and Remedies

                          (a)      The duties and obligations imposed by the Contract Documents and the rights and
          remedies available thereunder shall be in addition to, and not a limitation of, any duties, obligations, rights
          and remedies otherwise imposed or available under applicable law.

                          (b)      In the event that Contractor fails to meet any of its obligations under the Contract
          Documents, Owner may, in its sole discretion and at Owner’s option, back-charge Contractor for the costs
          incurred by Owner as a result of such failure by Contractor by either charging to Contractor the cost thereof
          or deducting such costs from amounts due Contractor under this Contract.

                          (c)       Notwithstanding any other provisions under the Contract Documents, Owner shall
          have the absolute right to offset any amounts due hereunder or under any Change Order against any sums
          due from Owner to Contractor under this Contract.

                          (d)     Upon a breach by Contractor of any of the terms contained in the Contract
          Documents, (i) Owner shall have the right to exercise any and all rights and remedies under applicable law
          or equity, and (ii) Contractor shall bear all costs, fees and expenses incurred by Owner, Lender, and
          Contractor in connection with enforcing their rights under the Contract Documents and with respect to the
          Work.

                   17.11           No Waiver

                  No action or failure to act by Owner, Lender, or Architect shall constitute a waiver of any right or
          duty afforded any of them under the Contract, nor shall any action or failure to act constitute an approval
          of or acquiescence in any breach hereunder, except as may be specifically agreed to in writing.

                   17.12           Survival

                   The obligations of Contractor hereunder, including without limitation obligations concerning
          indemnity, warranties, confidentiality, the provision of information and documentation to Owner as
          required by this Contract, discharge of liens and defense of Lender and/or Owner in connection with all of
          the foregoing, shall survive the expiration or earlier termination of this Contract.

                  17.13            Cooperation with Owners Partners

                  Contractor acknowledges that Owner may be required to obtain the approval of Owners partners
         before taking any action or issuing any approval contemplated by this Contract. Contractor may be required
         to perform its obligations under this Contract for the benefit of and to the satisfaction of Owners partners
         as well as Owner. Contractor shall make such changes, modifications or amendments to this Contract as
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           may be reasonably requested by Owner or Owner acting at the request of Owners partners. In no event,
           however, shall any such changes, modifications or amendments agreed to by Contractor pursuant to this
           paragraph decrease the compensation payable to Contractor hereunder or materially increase the obligations
           of or liabilities of Contractor. Contractor shall cooperate and shall cause its Subcontractors to cooperate
           with Owners partners, as well as any consultants employed by Owners partners.

                   17.14            Attornment by Contractor

                    Contractor agrees that, if Owner shall default under the provisions of this Contract in a way that
           would give Contractor the right to terminate this Contract, Contractor shall continue to perform its
           obligations under this Contract for Owner or Lender if Owner or Lender shall cure any such default by
           Owner within thirty (30) calendar days after notice from Contractor to Owner or Lender. Owner or Lender
           shall agree in writing to perform all obligations of Owner after the date Owner or Lender succeeds to
           Owner’s rights and obligations. If requested to do so by Owner or Lender, Contractor will confirm to Owner
           or Lender its commitment to continue performance under this Section.

                   17.15            Services to Continue During Pendency of Disputes

                   In the event of any dispute under the Contract, including but not limited to disputes as to whether
          any item or portion of the Work is within the scope of the Work to be performed by Contractor or whether
          Contractor is entitled to additional compensation or an extension of time in which to perform the Work,
          Contractor shall continue to proceed diligently with the performance of the Work, this Contract, and any
          disputed Work, pending the resolution thereof. The existence of a dispute shall not be grounds for any
          failure to perform by Contractor nor limit the right of Owner to proceed to remedy any default by
          Contractor. Owner shall continue to pay undisputed amounts during the pendency of such disputes.

                   17.16            Limitation of Action

                           (a)      No action or proceeding shall lie or be maintained by Contractor against Owner,
          Lender, Architect or any Indemnitee upon any claim arising out of or based upon this Contract or by reason
          of any act or omission or any requirements relating to the giving of notices or information required
          hereunder, unless such action or proceeding shall be commenced within two (2) years after the earlier of (i)
          the last date that Contractor furnishes material or performs labor at the Project; or (ii) the issuance of a
          temporary certificate of occupancy (or permanent certificate of occupancy if no temporary certificate of
          occupancy is issued) for the Project; or (iii) the date that this Contract is terminated. This Section shall not
          be deemed or construed to modify any statutory deadline for the filing or prosecution of lien claims, or any
          other provision hereof relating to waivers of claims by Contractor. Contractor shall cause each Subcontract
          to contain like provision.s to this Article and a provision requiring like provisions to be contained in
          Subcontracts of any tier.

                           (b)      As a condition precedent to bringing a claim for damages, monetary or otherwise,
          by reason of any act or omission of Owner, Lender, Architect or their consultants or agents. Contractor
          must notify Owner in writing that the act or omission may cause Contractor to sustain damages within five
          (5) business days after Contractor has actual knowledge, or should have known, that such act or omission
          may cause Contractor to sustain damages, monetary or otherwise. In addition, within thirty (30) calendar
          days thereafter or within such additional time in excess of thirty (30) calendar days as may be granted by
          Owner upon written request of Contractor, Contractor must submit to Owner verified detailed statements
          of the damages sustained and documenting evidence supporting such claim for damages and must further
          comply with the provisions herein relating to changes in the Work.

                  17.17             Entire Contract; Merger
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                    This Contract contains the entire understanding between the parties and supersedes any agreements,
           statements, commitments, or proposals heretofore had between the parties and may not be changed orally.
           Any and all Work performed by Contractor heretofore in anticipation of entering into this Contract are
           hereby merged into this Contract and shall be governed by the terms and conditions set forth herein effective
           as of the date of performance of such Work.

                    17.18           Integrity and Ethical Conduct

                           (a)      Contractor acknowledges and understands that Owner is committed to have the
           Work performed in accordance with the highest ethical standards applicable to, or governing, the conduct
           of construction practices and Contractor agrees to perform the Work and will require each Subcontractor
           to perform the Work in accordance therewith.

                           (b)      During the course of performing Work in accordance with this Contract,
           Contractor agrees to maintain business ethics standards aimed at avoiding any impropriety or conflict of
           interest which could be construed to have an adverse impact on Owner’s or Lender’s best interests.

                           (c)      Contractor employees, agents. Subcontractors, material suppliers (or their
          representatives) should not make or cause to be made any cash payments, commissions, employment, gifts,
          entertainment, free travel, loans, free work, substantially discounted work, or any other considerations to
          Owner or Owner’s representatives, employees or their relatives. Contractor employees, agents or
          Subcontractors (or their relatives) should not receive any cash payments, commissions, employment, gifts,
          entertainment, free travel, loans, free work, or substantially discounted work or any other considerations
          from representatives of Subcontractors, or material suppliers or any other individuals, organizations, or
          businesses receiving funds in connection with the Project.

                          (d)     Contractor agrees to provide notice to Owner within two (2) business days of any
          instance where the Contractor becomes aware of a failure to comply with the provisions of this Section.

                          (e)    Contractor shall permit interviews of employees, reviews and audits of accounting
          or other records by Owner representative(s) to evaluate compliance with the business ethics standards.
          Upon Owner request. Contractor agrees to implement a program requiring their employees sign
          acknowledgements that they have read and understand the provisions outlined in this Section.

                   17.19            Independent Contractor

                   It is expressly understood and agreed by the parties hereto that Contractor, in performing its
          obligations under this Contract, shall be deemed an independent contractor. Nothing contained in this
          Contract shall be construed to mean that Owner and Contractor are joint venturers or partners. Contractor
          shall incorporate the foregoing in all Subcontracts.

                   17.20           Practice of Architecture and/or Engineering

                  Nothing contained in this Contract shall be deemed to require or authorize Contractor to perform
          or do any acts which would be deemed the practice of architecture or engineering within the meaning of
          the laws of the State where the Project is located. Such limitation shall not apply to engineering services
          properly delegated pursuant to the laws of the State where the Project is located.

                   17.21           Anti-Corruption
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                           (a)      In the performance of this Contract, Contractor shall comply and shall instruct and
           direct its members, affiliates, officers, directors and employees, and agents or representatives, if any, to
           comply with all applicable anti-corruption laws;

                            (b)      Neither Contractor nor its members, affiliates, officers, directors and employees,
           and agents or representatives, if any, in connection with work or services for Owner, has taken or will be
           authorized or directed to knowingly (based on Contractor’s actual knowledge) take any actions in
           furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of anything of
           value, either directly or indirectly, to any person while knowing that all or some portion of the money or
           value will be offered, given or promised to anyone to improperly influence official action or otherwise to
           secure any improper advantage;

                            (c)      Throughout the duration of this Contract, neither Contractor nor any of its officers,
           directors, employees, or members, is or will, with the knowledge of Contractor, be owned, directly or
           indirectly, in whole or in part, or controlled by, any government or, unless disclosed to Owner in writing,
           any government official;

                             (d)      Neither Contractor nor any of its members, directors, officers, and employees, nor
           will Contractor permit any of its agents or representatives, if any, or any of its affiliates will use Owner
           funds, either directly or indirectly, for any purpose that would violate applicable anti-corruption laws;

                            (e)     Contractor shall notify Owner promptly if at any time it obtains actual knowledge
          or suspects that the foregoing representations and warranties shall not be true and correct.

                           (f)    Contractor shall create and maintain precise and accurate books and financial
          records in connection with the services performed under this Contract. Upon two (2) days’ prior notice.
          Owner shall have the right to inspect such books and financial records of Contractor in connection with the
          services to be performed. Contractor shall fully cooperate with any such inspection that may be conducted.

                           (g)     Contractor may not assign, sub-contract or otherwise enter into any arrangements
          to share the fees hereunder with any third party or parties directly or indirectly or delegate the services for
          which Contractor has been retained to any third party or parties.

                           (h)     Contractor agrees that Owner shall not be obligated under this Contract to take any
          action or omit to take any action that it believes, in good faith, would cause it to be in violation of any
          applicable anti-corruption laws.

                   17.22   OFAC Compliance and Certification

                    Contractor represents and certifies that neither Contractor, nor any partner or member of
          Contractor, nor any owner of a direct or indirect interest in Contractor (i) is listed on any Government Lists
          (defined below), (ii) is a person who has been determined by competent authority to be subject to the
          prohibitions contained in Presidential Executive Orders No. 13224 (Sept. 23, 2001) or any other similar
          prohibitions contained in the rules and regulations of OFAC (defined below) or in any enabling legislation
          or other Presidential Executive Order in respect thereof, (iii) has been previously indicted for or convicted
          of any felony involving a crime or crimes of moral turpitude or for any Patriot Act Offense (defined below),
          or (iv) is currently under investigation by any governmental authority for alleged criminal activity. For the
          purposes hereof, “Government Lists” means (i) the Specially Designated Nationals and Blocked Persons
          Lists maintained by Office of Foreign Asset Control (“OFAC”), (ii) any other list of terrorists, terrorist
          organizations or narcotics traffickers maintained pursuant to any of the Rules and Regulations of OFAC,
          or (iii) similar lists maintained by the U.S. Department of State, the U.S. Department of Commerce or any
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           Other governmental authority. For the purposes hereof, “Patriot Act Offense” means any violation of the
           Patriot Act or of the criminal laws of the U.S.A, or any of the several states relating to terrorism of the
           laundering of monetary instruments, including the Bank Secrecy Act and the Money Laundering Control
           Act of 1986. To the fullest extent permitted by law. Contractor agrees to defend, indemnify and hold
           harmless Owner from and against any and all claims, damages, losses, risks, liability and expenses
           (including attorney’s fees and costs) arising from or related to any breach of the foregoing certification.
           The provisions of this Section shall survive the completion of Contractor’s Work under this Contract and
           the expiration or termination of this Contract.

                   17.23            Third Party Beneficiaries

                    Lender and Owner’s affiliates shall be deemed a third party beneficiary of this Contract and shall
           be entitled to enforce the covenants contained herein against Contractor to the fullest extent as though a
           party hereto, including any damages incurred by Owner as a result of Contractor’s breach of this Contract;
           provided that no such third party beneficiary shall have any obligation hereunder or be subject to or included
           in any lawsuit to enforce the terms hereof based on status as a third party beneficiary.

                   17.24            Counterparts

                    This Contract may be executed in multiple counterparts, each of which shall be an original and all
           of which, together, shall constitute one agreement. Electronic and/or facsimile signatures of this Contract
           shall be deemed originals for all purposes.

                                              [Signatures To Follow On Next Page]
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                   IN WITNESS WHEREOF, the parties hereto have executed this Construction Contract as of the
           day and year first above written.

           OWNER; lOASG Hazlet, LLC]



           By: Samuel Giordano
           Title: CFO



           CONTRACTOR: [Scungio Borst & Associates Construction Management]

                                                       10/4/2021
           By: James M. Buckley, President
           Title:
